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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF NEBRASKA

                                                                                  )
In re:                                                                            )   Chapter 11
                                                                                  )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                                   )   Case No. 19-80064-TLS
                                                                                  )
                               Debtors.                                           )   (Joint Administration Requested)
                                                                                  )

                             DISCLOSURE STATEMENT FOR THE
                                 JOINT CHAPTER 11 PLAN OF
              SPECIALTY RETAIL SHOPS HOLDING CORP AND ITS DEBTOR AFFILIATES

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    Co-Counsel to the Debtors and Debtors in Possession

    Dated: January 16, 2019




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
       Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida Transportation, LLC (4219);
       Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained R/E SPE, LLC (6679); Shopko Finance,
       LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding Company, LLC (0171); ShopKo Institutional Care Services
       Co., LLC (7112); ShopKo Optical Manufacturing, LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating
       Co., LLC (6109); SVS Trucking, LLC (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay,
       Wisconsin 54304.
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       THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE STATEMENT TO
HOLDERS OF CLAIMS FOR PURPOSES OF SOLICITING VOTES TO ACCEPT OR REJECT THE JOINT PLAN OF
REORGANIZATION OF SPECIALTY RETAIL SHOPS HOLDING CORP. AND ITS DEBTOR AFFILIATES
PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE. NOTHING IN THIS DISCLOSURE STATEMENT
MAY BE RELIED UPON OR USED BY ANY ENTITY FOR ANY OTHER PURPOSE. BEFORE DECIDING
WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER ENTITLED TO VOTE SHOULD
CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE STATEMENT, INCLUDING THE
RISK FACTORS DESCRIBED IN ARTICLE X HEREIN.

       THE PLAN IS SUPPORTED BY THE DEBTORS AND CERTAIN CREDITORS OF THE DEBTORS. ALL
SUCH PARTIES URGE HOLDERS OF CLAIMS WHOSE VOTES ARE BEING SOLICITED TO ACCEPT THE PLAN.

      THE DEBTORS URGE EACH HOLDER OF A CLAIM TO CONSULT WITH ITS OWN ADVISORS WITH
RESPECT TO ANY LEGAL, FINANCIAL, SECURITIES, TAX, OR BUSINESS ADVICE IN REVIEWING THIS
DISCLOSURE STATEMENT, THE PLAN, AND THE PROPOSED TRANSACTIONS CONTEMPLATED THEREBY.
FURTHERMORE, THE BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF THE INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S
APPROVAL OF THE PLAN.

       THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS, SUMMARIES OF THE PLAN,
CERTAIN STATUTORY PROVISIONS, AND CERTAIN ANTICIPATED EVENTS IN THE DEBTORS’ CHAPTER 11
CASES. ALTHOUGH THE DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE, THESE
SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE EXTENT THAT THEY DO NOT SET FORTH THE
ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY PROVISIONS OR EVERY DETAIL OF SUCH
ANTICIPATED EVENTS. IN THE EVENT OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A
DESCRIPTION IN THIS DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY
OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH OTHER DOCUMENTS
WILL GOVERN FOR ALL PURPOSES. FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT HAS BEEN PROVIDED BY THE DEBTORS’ MANAGEMENT EXCEPT WHERE OTHERWISE
SPECIFICALLY NOTED. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT THE INFORMATION
CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY MATERIAL INACCURACY OR OMISSION.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH SECTION 1125 OF
THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B) AND IS NOT NECESSARILY PREPARED IN
ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER SIMILAR LAWS.

       THE SECURITIES TO BE ISSUED ON OR AFTER THE EFFECTIVE DATE WILL HAVE NOT BEEN THE
SUBJECT OF A REGISTRATION STATEMENT FILED WITH THE UNITED STATES SECURITIES AND
EXCHANGE COMMISSION (THE “SEC”) OR ANY SECURITIES REGULATORY AUTHORITY OF ANY STATE
UNDER ANY STATE SECURITIES LAW (“BLUE SKY LAWS”). THE PLAN HAS NOT BEEN APPROVED OR
DISAPPROVED BY THE SEC OR ANY STATE SECURITIES COMMISSION AND NEITHER THE SEC NOR ANY
STATE SECURITIES COMMISSION HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THIS
DISCLOSURE STATEMENT OR THE MERITS OF THE PLAN. ANY REPRESENTATION TO THE CONTRARY IS
A CRIMINAL OFFENSE.

      THE DEBTORS ARE RELYING ON THE EXEMPTION FROM THE SECURITIES ACT OF 1933, AS
AMENDED (THE “SECURITIES ACT”) AND EQUIVALENT STATE LAW REGISTRATION REQUIREMENTS
PROVIDED BY SECTION 1145(A)(1) OF THE BANKRUPTCY CODE, TO EXEMPT THE OFFERING AND
ISSUANCE OF NEW SECURITIES PURSUANT TO THE PLAN FROM REGISTRATION UNDER THE SECURITIES
ACT AND BLUE SKY LAWS.

       IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON FINANCIAL DATA
DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON VARIOUS ASSUMPTIONS REGARDING THE
DEBTORS’ BUSINESSES. WHILE THE DEBTORS BELIEVE THAT SUCH FINANCIAL INFORMATION FAIRLY
REFLECTS THE FINANCIAL CONDITION OF THE DEBTORS AS OF THE DATE HEREOF AND THAT THE
ASSUMPTIONS REGARDING FUTURE EVENTS REFLECT REASONABLE BUSINESS JUDGMENTS, NO
REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE ACCURACY OF THE FINANCIAL
INFORMATION CONTAINED HEREIN OR ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESSES AND
THEIR FUTURE RESULTS AND OPERATIONS. THE DEBTORS EXPRESSLY CAUTION READERS NOT TO
PLACE UNDUE RELIANCE ON ANY FORWARD LOOKING STATEMENTS CONTAINED HEREIN.
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       THIS DISCLOSURE STATEMENT CONTAINS “FORWARD LOOKING STATEMENTS” WITHIN THE
MEANING OF UNITED STATES SECURITIES LAWS. SUCH STATEMENTS CONSIST OF ANY STATEMENT
OTHER THAN A RECITATION OF HISTORICAL FACT AND CAN BE IDENTIFIED BY THE USE OF FORWARD
LOOKING TERMINOLOGY SUCH AS “MAY,” “EXPECT,” “ANTICIPATE,” “ESTIMATE,” OR “CONTINUE,” OR
THE NEGATIVE THEREOF, OR OTHER VARIATIONS THEREON OR COMPARABLE TERMINOLOGY. YOU
ARE CAUTIONED THAT ALL FORWARD LOOKING STATEMENTS ARE NECESSARILY SPECULATIVE AND
THERE ARE CERTAIN RISKS AND UNCERTAINTIES THAT COULD CAUSE ACTUAL EVENTS OR RESULTS TO
DIFFER MATERIALLY FROM THOSE REFERRED TO IN SUCH FORWARD LOOKING STATEMENTS.

      MAKING INVESTMENT DECISIONS BASED ON THE INFORMATION CONTAINED IN THIS
DISCLOSURE STATEMENT AND/OR THE PLAN IS THEREFORE HIGHLY SPECULATIVE. THE DEBTORS
RECOMMEND THAT POTENTIAL RECIPIENTS OF ANY SECURITIES ISSUED PURSUANT TO THE PLAN
CONSULT THEIR OWN LEGAL COUNSEL CONCERNING THE SECURITIES LAWS GOVERNING THE
TRANSFERABILITY OF ANY SUCH SECURITIES.

       THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS, AN
ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE DEBTORS MAY SEEK TO INVESTIGATE,
FILE, AND PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS AFTER THE CONFIRMATION OR
EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES
ANY SUCH CLAIMS OR OBJECTIONS TO CLAIMS.

        THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE FINANCIAL INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE DATE HEREOF, UNLESS OTHERWISE
SPECIFICALLY NOTED. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY UPDATE THE INFORMATION IN
THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO AFFIRMATIVE DUTY TO DO SO, AND EXPRESSLY
DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY FORWARD LOOKING STATEMENTS, WHETHER AS A
RESULT OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE. HOLDERS OF CLAIMS REVIEWING
THIS DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE FACTS
SET FORTH HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE STATEMENT WAS FILED.
INFORMATION CONTAINED HEREIN IS SUBJECT TO COMPLETION, MODIFICATION, OR AMENDMENT.
THE DEBTORS RESERVE THE RIGHT TO FILE AN AMENDED OR MODIFIED PLAN AND RELATED
DISCLOSURE STATEMENT FROM TIME TO TIME, SUBJECT TO THE TERMS OF THE PLAN.

      THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION ABOUT OR
CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS DISCLOSURE STATEMENT.
THE DEBTORS HAVE NOT AUTHORIZED ANY REPRESENTATIONS CONCERNING THE DEBTORS OR THE
VALUE OF THEIR PROPERTY OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.

      IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE OCCURS,
ALL HOLDERS OF CLAIMS AND INTERESTS (INCLUDING THOSE HOLDERS OF CLAIMS AND INTERESTS
WHO DO NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, OR WHO ARE NOT ENTITLED TO VOTE
ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN AND THE RESTRUCTURING TRANSACTION
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I.         INTRODUCTION

          Specialty Retail Shops Holding Corp. (“Shopko”) and its debtor affiliates, as debtors and debtors in
possession (collectively, the “Debtors”), submit this disclosure statement (this ”Disclosure Statement”) pursuant to
section 1125 of the Bankruptcy Code to Holders of Claims against and Interests in the Debtors in connection with the
solicitation of acceptances with respect to the Joint Chapter 11 Plan of Specialty Retail Shops Holding Corp. and
Its Debtor Affiliates (the “Plan”), dated January 16, 2019. 2 A copy of the Plan is attached hereto as Exhibit A and
incorporated herein by reference. The Plan constitutes a separate chapter 11 plan for Shopko and each of its affiliated
Debtors.

          Each of the Debtors’ boards of managers or directors has approved the Plan and believes the Plan is in the
best interests of the Debtors’ Estates. As such, the Debtors recommend that all Holders of Claims entitled to vote
accept the Plan by returning their ballots (each, a “Ballot”) so as to be actually received by the Solicitation Agent (as
defined herein) no later than March 25, 2019, at 5:00 p.m. (prevailing Central Time). Assuming the requisite
acceptances to the Plan are obtained, the Debtors will seek the Bankruptcy Court’s approval of the Plan at the
Confirmation Hearing.

II.        PRELIMINARY STATEMENT

         Shopko, founded in 1962 and headquartered in Green Bay, Wisconsin, is a leading operator of over 300
general merchandise stores throughout the Midwestern, Northwestern, and Southwestern regions of the United States.
The Debtors employ over 15,000 individuals, and offer a broad assortment of name brand and private brand
merchandise including clothing and accessories, electronics, and home furnishings, as well as Debtor-operated
pharmacy and optical services departments. In many instances, the Debtors’ stores are an integral part of the fabric
of the communities in which they operate.
          Unfortunately, the Debtors, like many other retail companies, have recently fallen victim to adverse macro-
trends, including the general shift away from brick and mortar stores to online retail channels. More specifically,
retail companies like Shopko, with a substantial physical footprint, bear higher expenses than web-based retailers and
are heavily dependent on store traffic, which has decreased significantly as consumers increasingly shop online rather
than in malls or shopping centers. In addition to competing against online retailers, the Debtors have struggled against
other established brick and-mortar retailers, such as Walmart and Target, who have less leveraged capital structures
and greater economies of scale. These factors allow the Debtors’ competitors to offer lower prices than the Debtors
and still bear the high operating expenses associated with brick-and-mortar retail. Further, consolidation in the
pharmacy industry has led to a lack of pricing power for retail pharmacies of Shopko’s size.
         These market developments, compounded with an underdeveloped online presence and wholesale platform
and certain above-market lease obligations, have adversely impacted the Debtors’ sales and operations, with EBITDA
declining by 21% over the last year, from approximately $45.2 million in 2017 to approximately $35.6 million in
2018. These declines have directly—and negatively—impacted liquidity and left the Debtors overleveraged.
Moreover, the Debtors’ pharmacy business has not performed as well as the Debtors anticipated, due in part to high
inventory costs from the Debtors’ primary pharmaceutical provider, McKesson Corporation (“McKesson”).
         To protect the inherent value in their businesses and to address the existing macro-economic challenges, the
Debtors retained advisors to assist management and the board of directors regarding potential strategic alternatives to
enhance the Debtors’ leverage and liquidity and address their capital structure. With the assistance of their advisors,
the Debtors began a series of steps in late 2017 to address their balance sheet. These steps include processes to market
the Debtors’ assets, efforts to right-size their debt and lease obligations, and pursuing deleveraging and financing
opportunities. Among other successes, Debtors obtained additional financing from Spirit Realty L.P. (“Spirit”)—their
primary landlord—in January 2018.
         Over the past year and a half, the Debtors began implementing real-estate rationalization measures and other
operational efficiency initiatives and developing their wholesale business and online sales presence. After an initial

2     Capitalized terms used but not otherwise defined in this Disclosure Statement will have the meaning ascribed to such terms in
      the Plan. The summary of the Plan provided herein is qualified in its entirety by reference to the Plan. In the case of
      any inconsistency between this Disclosure Statement and the Plan, the Plan will govern.
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marketing process for the Debtors’ business in 2017 led by Houlihan Lokey, the Debtors, through receipt of feedback
from the buyers and as a result of their own analysis, learned that they would have greater value if they exited the
pharmacy business. Using this analysis, the Debtors commenced another comprehensive marketing process in mid-
2018 for both a sale of their entire business as well as a separate process for the sale of their pharmacy assets. As a
result of these efforts, the Debtors were able to close approximately $95 million in transactions in the months leading
up to the Petition Date. The Debtors intend to finish these marketing efforts postpetition in an expedited auction and
sale process that will maximize the value of the Debtors’ remaining pharmacy assets. The Debtors also began the
process of closing their unprofitable locations in late 2018, and intend to complete that process at some point during
these cases.
         With debtor-in-possession financing and key creditor support in place, the Debtors intend to move
expeditiously through these cases and emerge as a stronger, better-capitalized business positioned to thrive for years
to come.
        As of the Petition Date, the Debtors had outstanding funded debt obligations in the aggregate principal
amount of approximately $403 million, consisting primarily of approximately (a) $289 million under the ABL
Revolving Loans A, (b) $30.0 million outstanding under the Revolving Loans A-1, (c) $49.1 million outstanding under
the Term Loan B, and (d) $34.4 million under the Term Loan B-1.

III.     OVERVIEW OF THE PLAN

         The Plan contemplates a restructuring of the Debtors through either (a) a sponsor-led Equitization
Restructuring or (b) an orderly liquidation under the Asset Sale Restructuring.

         The key terms of the Plan are as follows:

          A.      Purpose and Effect of the Plan

           The Debtors propose to reorganize under chapter 11 of the Bankruptcy Code, which is the principal
business reorganization chapter of the Bankruptcy Code. Under chapter 11 of the Bankruptcy Code, a debtor may
reorganize its business for the benefit of its stakeholders. The consummation of a chapter 11 plan of reorganization
is the principal objective of a chapter 11 case. A chapter 11 plan sets forth how a debtor will treat claims and equity
interests.

          A bankruptcy court’s confirmation of a chapter 11 plan binds the debtor, any entity or person acquiring
property under the plan, any creditor of or equity security holder in a debtor, and any other entities and persons to
the extent ordered by the bankruptcy court pursuant to the terms of the confirmed plan, whether or not such entity
or person is impaired pursuant to the plan, has voted to accept the plan, or receives or retains any property under
the plan.

         Among other things (subject to certain limited exceptions and except as otherwise provided in the Plan or
the Confirmation Order), the Confirmation Order will discharge the Debtors from any debt arising before the
Effective Date, terminate all of the rights and interests of pre-bankruptcy equity security holders and substitute the
obligations set forth in the Plan for those pre-bankruptcy Claims and Interests. Under the Plan, Claims and Interests
are divided into Classes according to their relative priority and other criteria.

        Each of the Debtors is a proponent of the Plan within the meaning of section 1129 of the Bankruptcy Code.
The Plan does not contemplate the substantive consolidation of the Debtors’ estates. Instead, the Plan, although
proposed jointly, constitutes a separate plan for each of the Debtors in these Chapter 11 Cases. Holders of Allowed
Claims or Interests against each of the Debtors will receive the same recovery provided to other Holders of Allowed
Claims or Interests in the applicable Class and will be entitled to their share of assets available for distribution to
such Class.

         The Debtors contemplate two different possible paths forward under their Plan, the Equitization
Restructuring and the Asset Sale Restructuring.



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         The Plan includes a “toggle” feature which will determine whether the Debtors complete the Equitization
Restructuring or the Asset Sale Restructuring. The Plan thus provides the Debtors with the necessary latitude to
negotiate the precise terms of their ultimate emergence from chapter 11.

         The Plan contemplates the following transactions under the Equitization Restructuring:

         •     The issuance of the New Shopko Interests;

         •     The Debtors Prepetition ABL Obligations and certain Prepetition Term Loan Obligations being rolled
               up into the DIP Facility that consists of (a) $400 million Revolving A Loans, (b) $30 million in Revolving
               A-1 Loans, and (c) $50 million in a senior secured term loan;

         •     The entrance by the Reorganized Debtors into the Exit Facility, pursuant to which either (i) the DIP
               Lenders will convert their DIP Claims into commitments under such an Exit Facility; or (ii) the
               Reorganized Debtors will enter into a new credit facility sufficient to both repay the portion of the DIP
               Facility provided by the DIP Lenders and to provide incremental liquidity;

         •     The investment by the Plan Sponsor in exchange for New Shopko Interests; and

         •     Interests in Shopko being canceled and extinguished.

         Under the Asset Sale Restructuring, the Debtors will conduct a series of Asset Sales to sell substantially all
of the Debtors’ assets. The Asset Sale Restructuring contemplates the following transactions:

         •     Selection by the Debtors of the Plan Administrator who will act in the fiduciary capacity as a board of
               managers or directors. As of the Effective Date, the Plan Administrator would become the sole manager,
               director, and officer of Reorganized Shopko and act to wind down the business affairs of the Debtors
               and Reorganized Shopko;

         •     The Debtors Prepetition ABL Obligations and certain Prepetition Term Loan Obligations being rolled
               up into the DIP Facility that consists of (a) $400 million Revolving A Loans, (b) $30 million in Revolving
               A-1 Loans, and (c) $50 million in a senior secured term loan;

         •     The Plan Administrator will establish each of the Distribution Reserve Accounts in accordance with
               Article VIII of the Plan and administer the distribution thereof to Holders of Allowed Claims;

         •     Vesting of all assets of the Debtors in Reorganized Shopko for the purpose of liquidating the Estates;
               and

         •     Interests in Shopko being canceled and extinguished.

          The feasibility of the Plan is premised upon, among other things, the Debtors’ ability to achieve the goals
of its long-range business plan, make the distributions contemplated under the Plan and pay certain continuing
obligations in the ordinary course of the Reorganized Debtors’ business. The Reorganized Debtors’ financial
projections are set forth on Exhibit D. Although the Debtors’ believe the projections are reasonable and
appropriate, they include a number of assumptions and are subject to a number of risk factors and to significant
uncertainty. Actual results may differ from the projections, and the differences may be material.

          A.       Equitization Restructuring

         Unless otherwise determined by the Debtors before the Confirmation Hearing, the Debtors shall effectuate
the Equitization Restructuring.

         The Equitization Restructuring shall be governed by the following provisions.

         1.        Sources of Consideration for Plan of Reorganization Distributions



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         The Reorganized Debtors shall fund distributions under the Plan from the following sources:

                  a.       Cash on Hand

         The Reorganized Debtors shall use Cash on hand to fund distributions to certain Holders of Allowed Claims
in accordance with Article III of the Plan.

                  b.       Issuance and Distribution of New Shopko Interests

         On the Effective Date, the Reorganized Debtors shall issue the New Shopko Interests to fund distributions to
certain Holders of Allowed Claims in accordance with Article III of the Plan. The issuance of New Shopko Interests
under the Plan, as well as options, or other equity awards, if any, reserved under the Management Incentive Plan, is
duly authorized without the need for any further corporate action and without any further action by the Debtors or
Reorganized Debtors or the Holders of Claims.

          On the Effective Date, Holders of New Shopko Interests shall be parties to the New Stockholders’
Agreement, in substantially the form included in the Plan Supplement. On the Effective Date, Reorganized Shopko
shall enter into and deliver the New Stockholders’ Agreement to each Entity that is intended to be a party thereto, and
such New Stockholders’ Agreement shall be deemed to be valid, binding, and enforceable in accordance with its
terms, and each Holder of New Shopko Interests shall be bound thereby, in each case without the need for execution
by any party thereto other than Reorganized Shopko.

                  c.       Exit Facility

         On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility. Confirmation of the Plan
shall be deemed approval of the Exit Facility and the Exit Facility Documents, and all transactions contemplated
thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized
Debtors in connection therewith, including the payment of all fees, indemnities, and expenses provided for therein,
and authorization of the Reorganized Debtors to enter into and execute the Exit Facility Documents and such other
documents as may be required to effectuate the Exit Facility.

                  d.       Plan Sponsor Investment

        On the Effective Date, the Plan Sponsor shall consummate the Plan Sponsor Investment, if any, in exchange
for [●]% of the New Shopko Interests, subject to dilution by Management Incentive Plan. The Cash received from the
Plan Sponsor Investment shall be contributed to the Reorganized Debtors on the Effective Date.

         2.       Management Incentive Plan

         As of the Effective Date, the Reorganized Shopko Board will be authorized to implement the Management
Incentive Plan. The Management Incentive Plan shall provide for the issuance of options and/or equity based
compensation to certain members of management of Reorganized Shopko. New Shopko Interests representing up to
10% of the New Shopko Interests outstanding as of the Effective Date on a fully-diluted basis shall be reserved for
issuance in connection with the Management Incentive Plan.

         3.       Reporting Upon Emergence

          On the Effective Date, none of the New Shopko Interests will be registered under the Securities Act or the
Securities Exchange Act or listed on a national securities exchange, Reorganized Shopko will not be a reporting
company under the Securities Exchange Act, Reorganized Shopko shall not be required to and will not file Securities
Exchange Act reports with the Securities and Exchange Commission or any other entity or party, and Reorganized
Shopko shall not be required to file monthly operating reports with the Bankruptcy Court after the Effective Date. In
order to prevent Reorganized Shopko from becoming subject to the reporting requirements of the Securities Exchange
Act, except in connection with a public offering, a separate agreement or Reorganized Shopko’s organizational
documents may impose certain trading restrictions, and the New Shopko Interests may be subject to certain transfer
and other restrictions designed to maintain Reorganized Shopko as a private, non-reporting company.



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         Notwithstanding the foregoing in this Section 3, from and after the Effective Date, Reorganized Shopko shall
be required to provide (via separate agreement or in its organizational documents) to its shareholders audited annual
and unaudited quarterly financial statements for such periods, with such statements being prepared in accordance with
U.S. GAAP (for the avoidance of doubt, no SAS 100 review, compliance with any other requirement of Regulation
S-X under the Securities Act or narrative disclosure required to be provided by reporting companies under the
Securities Exchange Act in periodic or other reports (including, without limitation, a Management’s Discussion and
Analysis of Financial Condition and Results of Operations) is required in connection with the delivery of the required
financial statements). Reorganized Debtors may also be required to provide certain financial information to other
parties pursuant to contracts that are in effect on or after the Effective Date.

          B.      The Asset Sale Restructuring

         Under the Asset Sale Restructuring, the Debtors will conduct a series of Asset Sales to sell substantially all
of the Debtors’ assets.

         If the Asset Sale Restructuring occurs, the following provisions shall govern.

         1.       Reorganized Shopko

         On and after the Effective Date, the Reorganized Shopko shall continue in existence for purposes of (a)
winding down the Debtors’ business and affairs as expeditiously as reasonably possible, (b) resolving Disputed
Claims, (c) making distributions on account of Allowed Claims as provided hereunder, (d) establishing and funding
the Distribution Reserve Accounts, (e) enforcing and prosecuting claims, interests, rights, and privileges under the
Causes of Action on the Retained Causes of Action List in an efficacious manner and only to the extent the benefits
of such enforcement or prosecution are reasonably believed to outweigh the costs associated therewith, (f) filing
appropriate tax returns, (g) complying with its continuing obligations under the Purchase Agreements, if any; and (h)
administering the Plan in an efficacious manner. The Reorganized Shopko shall be deemed to be substituted as the
party-in-lieu of the Debtors in all matters, including (i) motions, contested matters, and adversary proceedings pending
in the Bankruptcy Court and (ii) all matters pending in any courts, tribunals, forums, or administrative proceedings
outside of the Bankruptcy Court, in each case without the need or requirement for the Plan Administrator to file
motions or substitutions of parties or counsel in each such matter.

         2.       Plan Administrator

          The Plan Administrator shall act for the Reorganized Shopko in the same fiduciary capacity as applicable to
a board of managers, directors, and officers, subject to the provisions of the Plan (and all certificates of formation,
membership agreements, and related documents are deemed amended by the Plan to permit and authorize the same).
On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors, sale director
of the Reorganized Shopko shall be deemed to have resigned, and the Plan Administrator shall be appointed as the
sole manager, sole director, and sole officer of the Reorganized Shopko, and shall succeed to the powers of the
Reorganized Shopko’s managers, directors, and officers. From and after the Effective Date, the Plan Administrator
shall be the sole representative of, and shall act for, the Reorganized Shopko as further described in Article VII of the
Plan.

         3.       Dissolution and Board of the Debtors

          As of the Effective Date, the existing board of directors or managers, as applicable, of the Debtors shall be
dissolved without any further action required on the part of the Debtors or the Debtors’ officers, directors, managers,
shareholders, or members, and any remaining officers, directors, managers, or managing members of any Debtor shall
be dismissed without any further action required on the part of any such Debtor, the equity holders of the Debtors, the
officers, directors, or managers, as applicable, of the Debtors, or the members of any Debtor. Subject in all respects
to the terms of this Plan, the Debtors shall be dissolved as soon as practicable on or after the Effective Date, but in no
event later than the closing of the Chapter 11 Cases.

         As of the Effective Date, the Plan Administrator shall act as the sole officer, director, and manager, as
applicable, of the Debtors with respect to its affairs. Subject in all respects to the terms of this Plan, the Plan
Administrator shall have the power and authority to take any action necessary to wind down and dissolve any of the

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Debtors, and shall: (a) file a certificate of dissolution for any of the Debtors, together with all other necessary corporate
and company documents, to effect the dissolution of Shopko under the applicable laws of its state of formation; and
(b) complete and file all final or otherwise required federal, state, and local tax returns and shall pay taxes required to
be paid for any of the Debtors, and pursuant to section 505(b) of the Bankruptcy Code, request an expedited
determination of any unpaid tax liability of any of the Debtors or their Estates for any tax incurred during the
administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.

         The filing by the Plan Administrator of any of the Debtors’ certificate of dissolution shall be authorized and
approved in all respects without further action under applicable law, regulation, order, or rule, including any action
by the stockholders, members, board of directors, or board of managers of Shopko or any of its affiliates.

         4.        Release of Liens

         Except as otherwise expressly provided herein, on the Effective Date, all Liens on any property of any
Debtors or the Reorganized Shopko shall automatically terminate, all property subject to such Liens shall be
automatically released, and all guarantees of any Debtors or the Reorganized Shopko shall be automatically discharged
and released.

           C.      Releases. 3

         The Plan contains certain releases (as described more fully in Article IV.L hereof), including mutual releases
between (a) the Debtors; (b) the Credit Agreement Primary Agent; (c) the Term Loan B-1 Agent; (d) each Holder of
a Claim or Interest entitled to vote to accept or reject the Plan that (i) votes to accept the Plan or (ii) votes to reject the
Plan or does not vote to accept or reject the Plan but does not affirmatively elect to “opt out” of being a Releasing
Party by timely objecting to the Plan’s third-party release provisions; (e) each Holder of a Claim or Interest that is
Unimpaired and presumed to accept the Plan; (f) each Holder of a Claim or Interest that is deemed to reject the Plan
that does not affirmatively elect to “opt out” of being a Releasing Party by timely objecting to the Plan’s third-party
release provisions; and (g) with respect each of the Debtors, the Reorganized Debtors and the foregoing entities
described in clauses (a) through (g), such entities’ current and former affiliates, and such entities’ and such affiliates’
partners, subsidiaries, predecessors, current and former directors, managers, officers, equity holders (regardless of
whether such interests are held directly or indirectly), members, officers, principals, employees, agents, managed
accounts or funds, advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors, and other professionals, together with their respective successors and assigns

         Holders of Claims that (i) vote to accept or are deemed to accept the Plan or (ii) are in Voting Classes who
abstain from voting on the Plan and do not object to the releases will be deemed to have expressly, unconditionally,
generally, individually, and collectively released and discharged all Claims and Causes of Action against the Debtors
and the Released Parties.

         The Debtors believe that the releases, exculpations, and injunctions set forth in the Plan are appropriate
because, among other things: (a) the releases, exculpations, and injunctions are specific; (b) the releases provide
closure with respect to prepetition Claims and Causes of Action, which the Debtors determined is a valuable
component of the overall restructuring under the circumstances and is integral to the Plan; (c) the releases are a
condition to the global settlement and a necessary part of the Plan; and (d) each of the Released Parties and Exculpated
Parties has afforded value to the Debtors and aided in the reorganization process, which facilitated the Debtors’ ability
to propose and pursue confirmation of a value-maximizing restructuring. Further, the releases, exculpations, and
injunctions have the support of the vast majority of the Holders of the Debtors’ Revolving Loan A Claims, Revolving
Loan A-1 Claims, and Term Loan B Claims. The Debtors believe that each of the Released Parties and Exculpated
Parties has played an integral role in formulating or enabling the Debtors to propose the Plan and has expended
significant time and resources analyzing and negotiating the issues presented by the Debtors’ prepetition capital



3   The Special Committee, with the assistance of its counsel and advisors, is currently undertaking an investigation into Estate
    claims and Causes of Action. The Debtors reserve all rights to modify the Plan, including the release provisions of the Plan,
    and the Debtors reserve all rights and claims with respect thereto.


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structure. The Debtors will be prepared to meet their burden to establish the basis for the releases, exculpations, and
injunctions for each Released Party and Exculpated Party as part of Confirmation of the Plan. 4

IV.          QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND PLAN

             A.      What is chapter 11?

         Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In addition to permitting
debtor rehabilitation, chapter 11 promotes equality of treatment for creditors and similarly situated equity interest
holders, subject to the priority of distributions prescribed by the Bankruptcy Code.

         The commencement of a chapter 11 case creates an estate that comprises all of the legal and equitable interests
of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code provides that the debtor may
continue to operate its business and remain in possession of its property as a “debtor in possession.”

           Consummating a plan of reorganization is the principal objective of a chapter 11 case. A bankruptcy court’s
confirmation of a plan binds the debtor, any person acquiring property under the plan, any creditor or equity interest
Holder of the debtor, and any other entity as may be ordered by the bankruptcy court. Subject to certain limited
exceptions, the order issued by a bankruptcy court confirming a plan provides for the treatment of the debtor’s
liabilities in accordance with the terms of the confirmed plan.

             B.      Why are the Debtors sending me this Disclosure Statement?

         The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting acceptances of
the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure statement containing
adequate information of a kind, and in sufficient detail, to enable a hypothetical reasonable investor to make an
informed judgment regarding acceptance of the Plan. This Disclosure Statement is being submitted in accordance
with these requirements.

             C.      Am I entitled to vote on the Plan?

          Your ability to vote on, and your distribution under, the Plan, if any, depends on what type of Claim or
Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s respective voting status is set forth
below.

     Class               Claim/Interest                        Status                       Voting Rights
    1          Other Secured Claims                    Unimpaired              Presumed to Accept
    2          Other Priority Claims                   Impaired                Entitled to Vote
    3          Revolving Loan A Claims                 Impaired                Entitled to Vote
    4          Revolving Loan A-1 Claims               Impaired                Entitled to Vote
    5          Term Loan B Claims                      Impaired                Entitled to Vote
    6          Term Loan B-1 Claims                    Impaired                Entitled to Vote
    7          General Unsecured Claims                Impaired                Entitled to Vote
    8          Intercompany Claims                     Unimpaired / Impaired   Not Entitled to Vote
    9          Intercompany Interests                  Unimpaired              Presumed to Accept
    10         Interests in Shopko                     Impaired                Deemed to Reject
    11         Section 510(b) Claims                   Impaired                Deemed to Reject




4     The foregoing paragraph is subject to Article X.E of the Plan.


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            D.       What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Claims and Interests under
the Plan. Any estimates of Claims and Interests in this Disclosure Statement may vary from the final amounts Allowed
by the Bankruptcy Court. Your ability to receive distributions under the Plan depends upon the ability of the Debtors
to obtain Confirmation and meet the conditions necessary to consummate the Plan.

      THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE ESTIMATES
ONLY AND THEREFORE ARE SUBJECT TO CHANGE. FOR A COMPLETE DESCRIPTION OF THE
DEBTORS’ CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS, REFERENCE
SHOULD BE MADE TO THE ENTIRE PLAN. 5

                                          SUMMARY OF EXPECTED RECOVERIES
                                                                                                                             Projected
              Claim/Equity                                                                         Projected Amount          Recovery
    Class                                  Treatment of Claim/Equity Interest
                Interest                                                                               of Claims             Under the
                                                                                                                               Plan
     1      Other Secured         Each Holder of an Allowed Other Secured Claim will                        $[●]                [●]%
            Claims                receive, at the Debtors’ election: (a) payment in full in
                                  Cash, which may come from the Other Secured
                                  Claims Reserve; (b) delivery of the collateral securing
                                  any such Claim and payment of any interest required
                                  under section 506(b) of the Bankruptcy Code;
                                  (c) Reinstatement of such Claim; or (d) other
                                  treatment rendering such Claim Unimpaired.
     2      Other Priority        Each Holder of an Allowed Other Priority Claim will                       $[●]                [●]%
            Claims                receive its Pro Rata share of the Priority Claims
                                  Reserve. The failure to object to Confirmation by a
                                  Holder of an Allowed Other Priority Claim shall be
                                  deemed to be such Holder’s consent to receive
                                  treatment for such Claim that is different from that set
                                  forth in section 1129(a)(9) of the Bankruptcy Code.




5     The recoveries set forth below may change based upon changes in the amount of Claims that are “Allowed” as well as other
      factors related to the Debtors’ business operations and general economic conditions. “Allowed” means with respect to any
      Claim, except as otherwise provided herein: (a) a Claim that is evidenced by a Proof of Claim timely Filed by the Bar Date
      (or for which Claim under the Plan, the Bankruptcy Code, or a Final Order of the Court a Proof of Claim is not or shall not be
      required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not disputed, and for
      which no Proof of Claim has been timely filed; or (c) a Claim Allowed pursuant to the Plan, any stipulation approved by the
      Court, any contract, instrument, indenture, or other agreement entered into or assumed in connection with the Plan, or a Final
      Order of the Court; provided, that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
      Allowed only if and to the extent that with respect to such Claim no objection to the allowance thereof has been interposed
      within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Court, or if such an
      objection is so interposed, such Claim shall have been Allowed by a Final Order. Any Claim that has been or is hereafter
      listed in the Schedules as contingent, unliquidated, or disputed, and for which no Proof of Claim or Interest is or has been
      timely Filed, is not considered Allowed and shall be expunged without further action by the Debtors and without further notice
      to any party or action, approval, or order of the Court. Notwithstanding anything to the contrary herein, no Claim of any
      Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the
      amount that it owes. For the avoidance of doubt, a Proof of Claim Filed after the Bar Date shall not be Allowed for any
      purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow” and “Allowing” shall have
      correlative meanings.


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  3    Revolving Loan   If the Equitization Restructuring occurs, each Holder    $[●]        [●]%
       A Claims         of an Allowed Revolving Loan A Claim will either:
                        (a) receive payment in full in Cash of such Holder’s
                        Allowed Revolving Loan A Claim or (b) with the
                        consent of such Holder, receive its Pro Rata share of
                        the Exit Facility.

                        If the Asset Sale Restructuring occurs, each Holder of
                        an Allowed Revolving Loan A Claim shall receive its
                        Pro Rata share of: the Distribution Proceeds available
                        for distribution from time to time as provided in
                        Article VIII.G of the Plan, until such Allowed
                        Revolving Loan A Claims are paid in full.
  4    Revolving Loan   If the Equitization Restructuring occurs, each Holder    $[●]        [●]%
       A-1 Claims       Allowed Revolving Loan A-1 Claim will either: (a)
                        receive payment in full in Cash of such Holder’s
                        Allowed Revolving Loan A-1 Claim or (b) with the
                        consent of such Holder, receive its Pro Rata share of
                        the Exit Facility.

                        If the Asset Sale Restructuring occurs, each Holder of
                        an Allowed Revolving Loan A-1 Claim shall receive
                        its Pro Rata share of the Distribution Proceeds
                        available for distribution from time to time as
                        provided in Article VIII.G of the Plan, until such
                        Allowed Revolving Loan A-1 Claims are paid in full.
  5    Term Loan B      If the Equitization Restructuring occurs, each Holder    $[●]        [●]%
       Claims           of an Allowed Term Loan B Claim will receive either:
                        (a) payment in full in cash; or (b) as agreed by such
                        Holder of an Allowed Term Loan B Claim and the
                        Debtors, its Pro Rata share of the Exit Facility.

                        If the Asset Sale Restructuring occurs, each Holder of
                        an Allowed Term Loan B Claim shall receive its Pro
                        Rata share of the Distribution Proceeds available for
                        distribution from time to time as provided in Article
                        VIII.G of the Plan, until such Allowed Term Loan B
                        Claims are paid in full.

  6    Term Loan B-1    If the Equitization Restructuring occurs, each Holder    $[●]        [●]%
       Claims           of an Allowed Term Loan B-1 Claim will receive its
                        Pro Rata share of 19.9% of the New Shopko Interests,
                        subject to dilution by the Plan Sponsor Investment and
                        the Management Incentive Plan.

                        If the Asset Sale Restructuring occurs, each Holder of
                        an Allowed Term Loan B-1 Claim shall receive its Pro
                        Rata share of the Distribution Proceeds available for
                        distribution from time to time as provided in Article
                        VIII.G of the Plan, until such Allowed Term Loan B-
                        1 Claims are paid in full.




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    7     General             If the Equitization Restructuring occurs, each Holder            $[●]              [●]%
          Unsecured           of an Allowed General Unsecured Claim shall receive
          Claims              its Pro Rata share of, at the election of the Debtors,
                              [either (a) 80.1 % of the New Shopko Interests,
                              subject to dilution by the Plan Sponsor Investment and
                              the Management Incentive Plan or (b) its Pro Rata
                              share of the GUC Equitization Distribution in one or
                              more distributions.

                              If the Asset Sale Restructuring occurs, each Holder of
                              a General Unsecured Claim will receive its Pro Rata
                              share of the Distribution Proceeds as provided in
                              Article VIII.G of the Plan.
    8     Intercompany        Each Allowed Intercompany Claim, unless otherwise                N/A               N/A
          Claims              provided for under the Plan, will either be Reinstated
                              or canceled and released at the option of the Debtors;
                              provided, that no distributions shall be made on
                              account of any such Intercompany Claims.


    9     Intercompany        Each Allowed Intercompany Interest shall be                      N/A               N/A
          Interests           Reinstated for administrative convenience or
                              cancelled and released without any distribution on
                              account of such interests at the option of the Debtors.


   10     Interests in        Each Allowed Interest in Shopko shall be canceled,               N/A               N/A
          Shopko              released, and extinguished, and will be of no further
                              force or effect and no Holder of Interests in Shopko
                              shall be entitled to any recovery or distribution under
                              the Plan on account of such Interests
   11     Section 510(b)      Section 510(b) Claims will be canceled, released, and            N/A               N/A
          Claims              extinguished as of the Effective Date, and will be of
                              no further force or effect, and each Holder of a Section
                              510(b) Claim will not receive any distribution on
                              account of such Section 510(b) Claim. The Debtors
                              are not aware of any valid Section 510(b) Claims and
                              believe that no such Section 510(b) Claims exist.

         E.      What will I receive from the Debtors if I hold an Allowed Administrative Claim, DIP Claim, or
                 a Priority Tax Claim?

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims, and
Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims and Interests set forth
in Article III of the Plan.

                  (i)      Administrative Claims and Priority Tax Claims

       Administrative Claims and Priority Tax Claims will be satisfied as set forth in Article II.A of the Plan, as
summarized herein.

         Except with respect to Administrative Claims that are Professional Fee Claims, requests for payment of
Allowed Administrative Claims must be Filed and served on the Reorganized Debtors pursuant to the procedures
specified in the Confirmation Order and the notice of entry of the Confirmation Order no later than the Administrative
Claims Bar Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for

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payment of such Administrative Claims by such date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Debtors or their property, and such Administrative Claims shall be deemed
discharged as of the Effective Date. Objections to such requests, if any, must be Filed and served on the Reorganized
Debtors and the requesting party by the Claims Objection Bar Date.

          Except with respect to Administrative Claims that are Professional Fee Claims or DIP Claims, and except to
the extent that an Administrative Claim or Priority Tax Claim has already been paid during the Chapter 11 Cases or a
Holder of an Allowed Administrative Claim or Priority Tax Claim and the applicable Debtor(s) agree to less favorable
treatment, each Holder of an Allowed Administrative Claim or Priority Tax Claim shall receive, in full and final
satisfaction, compromise, settlement, and release of and in exchange for its Claim, its Pro Rata share of the Priority
Claims Reserve.

          The failure to object to Confirmation by a Holder of an Allowed Administrative Claim or Priority Tax Claim
shall be deemed to be such Holder’s consent to receive treatment for such Claim that is different from that set forth in
section 1129(a)(9) of the Bankruptcy Code; provided, however, that the Holders of such Claims shall be deemed to
consent to the treatment on account of such Claims as provided herein. Notwithstanding the foregoing, no request for
payment of an Administrative Claim need be Filed with respect to an Administrative Claim Allowed by Final Order.

          If the Asset Sale Restructuring occurs, any amounts remaining in the Priority Claims Reserve after payment
of all Allowed Administrative Claims and all Allowed Priority Claims shall promptly be transferred to the General
Account and shall be distributed according to the priority set forth in Article VIII.G of the Plan without any further
action or order of the Court.

                  (ii)      DIP Claims

         DIP Claims will be satisfied as set forth in Article II.C of the Plan, as summarized herein. As of the Effective
Date, the DIP Claims shall be Allowed Claims in the full amount outstanding under the DIP Credit Agreements,
including principal, interest, fees, and expenses.

          Except to the extent that a Holder of an Allowed DIP Claim agrees to a less favorable treatment, in full and
final satisfaction of the Allowed DIP Claims, each Holder of an Allowed DIP Claim: (i) if the Equitization
Restructuring occurs, will either be: (a) indefeasibly repaid in full in Cash on the Effective Date; or (b) with the
consent of such Holder, receive its Pro Rata share of the Exit Facility; or (ii) if the Asset Sale Restructuring occurs,
paid all Distribution Proceeds available for distribution under Article VIII.G of the Plan until such Allowed DIP
Claims are repaid in full. As used in this paragraph “repaid in full in Cash” shall mean the indefeasible payment in
full in Cash of all DIP Claims, the cancelation, backing, or cash collateralization of letters of credit under the DIP
Facility in accordance with the terms of the DIP Documents, and the termination of the DIP Agent’s and DIP Lenders’
obligation to extend credit under the DIP Facility.

          F.      Are any regulatory approvals required to consummate the Plan?

         There are no known regulatory approvals that are required to consummate the Plan. However, to the extent
such any such regulatory approvals or other authorizations, consents, rulings, or documents are necessary to implement
and effectuate the Plan, it is a condition precedent to the Effective Date that they be obtained.

          G.      What happens to my recovery if the Plan is not confirmed or does not go effective?

         In the event that the Plan is not confirmed or does not go effective, there is no assurance that the Debtors will
be able to reorganize their businesses. It is possible that any alternative transaction may provide Holders of Claims
with less than they would have received pursuant to the Plan. For a more detailed description of the consequences of
an extended chapter 11 case, or of a liquidation scenario, see “Confirmation of the Plan - Best Interests of
Creditors/Liquidation Analysis,” which begins on page 41 of this Disclosure Statement.

         H.      If the Plan provides that I get a distribution, do I get it upon Confirmation or when the Plan
                 goes effective, and what is meant by “Confirmation,” “Effective Date,” and “Consummation?”



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          “Confirmation” of the Plan refers to approval of the Plan by the Bankruptcy Court. Confirmation of the Plan
does not guarantee that you will receive the distribution indicated under the Plan. After Confirmation of the Plan by
the Bankruptcy Court, there are conditions that need to be satisfied or waived so that the Plan can go effective. Initial
distributions to Holders of Allowed Claims or Interests will only be made on the date the Plan becomes effective—
the “Effective Date”—or as soon as practicable thereafter, as specified in the Plan. See “Confirmation of the Plan,”
which begins on page 46 of this Disclosure Statement, for a discussion of the conditions precedent to consummation
of the Plan.

          I.       What are the sources of Cash and other consideration required to fund the Plan?

         If the Equitization Restructuring occurs, the Plan and distributions thereunder will be funded by the following
sources of Cash and consideration: (a) Cash on hand, (b) the issuance and distribution of New Shopko Interests, (c)
proceeds from the Exit Facility, and (d) the Plan Sponsor Investment.

          J.       Are there risks to owning the New Shopko Interests upon emergence from chapter 11?

         Yes. See “Risk Factors,” which begins on page 33 of this Disclosure Statement.

         K.      Will the final amount of Allowed General Unsecured Claims affect my recovery under the
                 Plan?

          The Debtors estimate that Allowed General Unsecured Claims total approximately $[●] million If Class 7
votes to accept the Plan, then each Holder of an Allowed General Unsecured Claim shall receive its Pro Rata share of
the GUC Equitization Distribution. If Class 7 votes to reject the Plan, then no distributions under the Plan shall be
made on account of Allowed General Unsecured Claims. If the Asset Sale Restructuring occurs, each Holder of a
General Unsecured Claim will receive its Pro Rata share of the Distribution Proceeds as provided in the Plan.
Although the Debtors’ estimate of General Unsecured Claims is the result of the Debtors’ and their advisors’ careful
analysis of available information, General Unsecured Claims actually asserted against the Debtors may be higher or
lower than the Debtors’ estimate provided herein, which difference could be material.

          Moreover, the Debtors may in the future reject certain Executory Contracts and Unexpired Leases, which
may result in additional rejection damages claims not accounted for in this estimate. Further, the Debtors may object
to certain proofs of claim, and any such objections could ultimately cause the total amount of General Unsecured
Claims to change.

         Further, as of the Petition Date, the Debtors were parties to certain litigation matters that arose in the ordinary
course of operating their businesses and could become parties to additional litigation in the future as a result of conduct
that occurred prior to the Petition Date. Although the Debtors have disputed, are disputing, or will dispute in the
future the amounts asserted by such litigation counterparties, to the extent these parties are ultimately entitled to a
higher amount than is reflected in the amounts estimated by the Debtors herein, the total amount of Allowed General
Unsecured Claims could change as well.

          Finally, the Debtors may object to certain proofs of claim, and any such objections ultimately could change
the total amount of Allowed General Unsecured Claims, and such changes could be material.

          The Management Incentive Plan shall provide for the issuance of options and/or equity based compensation
to certain members of management of Reorganized Shopko. The issuance of options and/or equity based compensation
under the Management Incentive Plan will dilute the New Shopko Interests being distributed to certain Holders of
Allowed Claims under the Plan.




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         L.      Will there be releases and exculpation granted to parties in interest as part of the Plan? 6

         Yes, Article X of the Plan proposes to release the Released Parties and to exculpate the Exculpated Parties.
The Debtors’ releases, third-party releases, and exculpation provisions included in the Plan are an integral part of the
Debtors’ overall restructuring efforts and were an essential element of the negotiations between the Debtors and their
creditors in obtaining their support for the Plan and reorganization.

         All of the Released Parties and the Exculpated Parties have made substantial and valuable contributions to
the Debtors’ restructuring through efforts to negotiate and implement the Plan, which will maximize and preserve the
going-concern value of the Debtors for the benefit of all parties in interest. Accordingly, each of the Released Parties
and the Exculpated Parties warrants the benefit of the release and exculpation provisions.

         All Holders of Claims that (i) vote to accept or are deemed to accept the Plan or (ii) are in voting Classes
who abstain from voting on the Plan and do not opt out of the release provisions contained in Article X of the Plan
will be deemed to have expressly, unconditionally, generally, individually, and collectively released and discharged
all Claims and Causes of Action against the Debtors and the Released Parties. The releases represent an integral
element of the Plan.

         Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan are necessary and
appropriate and meet the requisite legal standard promulgated by the United States Court of Appeals for the Eighth
Circuit. Moreover, the Debtors will present evidence at the Confirmation Hearing to demonstrate the basis for and
propriety of the release and exculpation provisions.

                      1.   Release of Liens

         Except as otherwise specifically provided in the Plan, the Exit Facility Documents, or in any contract,
instrument, release, or other agreement or document created pursuant to the Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens,
pledges, or other security interests against any property of the Estates shall be fully released and discharged,
and all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests shall revert to the Reorganized Debtors or Reorganized Shopko, as applicable, and their
successors and assigns, in each case, without any further approval or order of the Bankruptcy Court and
without any action or Filing being required to be made by the Debtors, Reorganized Debtors or Reorganized
Shopko, as applicable. The DIP Agent, the Credit Agreement Primary Agent and the Term Loan B-1 Agent
shall execute and deliver all documents reasonably requested by the Reorganized Debtors to evidence the
release of such mortgages, deeds of trust, Liens, pledges, and other security interests and shall authorize the
Reorganized Debtors to file UCC-3 termination statements (to the extent applicable) with respect thereto.

                      2.   Debtor Release

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after
the Effective Date, each Released Party is deemed released and discharged by the Debtors, the Reorganized
Debtors, Plan Administrator and their Estates from any and all Causes of Action, including any derivative
claims asserted on behalf of the Debtors, that the Debtors, the Reorganized Debtors, Plan Administrator, or
their Estates would have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the Holder of any Claim or Interest, or that any Holder of any Claim or Interest could have
asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in whole or in part:




6   The Special Committee, with the assistance of its counsel and advisors, is currently undertaking an investigation into Estate
    claims and Causes of Action. The Debtors reserve all rights to modify the Plan, including the release provisions of the Plan,
    and the Debtors reserve all rights and claims with respect thereto.


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        (a)      the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions,
                 the formulation, preparation, dissemination, negotiation, or filing of the other Restructuring
                 Documents;

        (b)      any Restructuring Document, contract, instrument, release, or other agreement or document
                 (including providing any legal opinion requested by any Entity regarding any transaction,
                 contract, instrument, document, or other agreement contemplated by the Plan or the reliance
                 by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
                 created or entered into in connection with the Disclosure Statement, or the Plan;

        (c)      the Chapter 11 Cases, the Disclosure Statement, the Plan, the DIP Credit Agreements, the DIP
                 Facilities, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
                 Consummation, the administration and implementation of the Plan, including the issuance or
                 distribution of Securities (including the New Shopko Interests) pursuant to the Plan, or the
                 distribution of property under the Plan or any other related agreement; or

        (d)      the business or contractual arrangements between any Debtor and any Released Party, and
                 any other act or omission, transaction, agreement, event, or other occurrence taking place on
                 or before the Effective Date relating to any of the foregoing.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Document, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

                     3.   Release by Holders of Claims or Interests

         As of the Effective Date, each Releasing Party is deemed to have released and discharged each Debtor,
Reorganized Debtor, or Reorganized Shopko, as applicable, and other Released Party from any and all Causes
of Action, including any derivative claims asserted on behalf of the Debtors, that such Entity would have been
legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner arising
from, in whole or in part:

        (a)      the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions,
                 the formulation, preparation, dissemination, negotiation, or filing of the other Restructuring
                 Documents;

        (b)      any Restructuring Document, contract, instrument, release, or other agreement or document
                 (including providing any legal opinion requested by any Entity regarding any transaction,
                 contract, instrument, document, or other agreement contemplated by the Plan or the reliance
                 by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
                 created or entered into in connection with the Disclosure Statement, or the Plan;

        (c)      the Chapter 11 Cases, the Disclosure Statement, the Plan, the DIP Credit Agreements, the DIP
                 Facilities, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
                 Consummation, the administration and implementation of the Plan, including the issuance or
                 distribution of Securities pursuant to the Plan, or the distribution of property under the Plan
                 or any other related agreement; or

        (d)      the business or contractual arrangements between any Debtor and any Released Party, and
                 any other act or omission, transaction, agreement, event, or other occurrence taking place on
                 or before the Effective Date relating to any of the foregoing.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Document, or any


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document, instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

                      4.   Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the Disclosure
Statement, the Plan, the DIP Credit Agreements, the DIP Facilities, the Exit Facility Credit Agreement, the
Exit Facility Documents, or any Restructuring Document, contract, instrument, release or other agreement or
document (including providing any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any Exculpated Party
on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection with
the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit
of Consummation, the administration and implementation of the Plan, including the issuance of Securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement, except for
claims related to any act or omission that is determined in a final order to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties
have, and upon closing of the Chapter 11 Cases or the Effective Date shall be deemed to have, participated in
good faith and in compliance with the applicable laws with regard to the solicitation of, and distribution of,
consideration pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be,
liable at any time for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

                      5.   Injunction

         Except with respect to the obligations arising under the Plan or the Confirmation Order, and except
as otherwise expressly provided in the Plan or the Confirmation Order, all Entities that held, hold, or may hold
claims or interests that have been released, discharged, or exculpated pursuant to the Plan, are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as applicable, the
Reorganized Debtors or Reorganized Shopko, as applicable or the other Released Parties: (1) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such claims or interests; (2) enforcing, attaching, collecting, or recovering by any manner
or means any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such claims or interests; (3) creating, perfecting, or enforcing any Lien or encumbrance of
any kind against such Entities or the property of such Entities on account of or in connection with or with
respect to any such claims or interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
against any obligation due from such Entities or against the property of such Entities on account of or in
connection with or with respect to any such claims or interests unless such Entity has timely asserted such setoff
right in a document filed with the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an
indication of a claim or interest or otherwise that such Entity asserts, has, or intends to preserve any right of
setoff pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such claims or interests
released or settled pursuant to the Plan.

          M.      What impact does the Claims Bar Date have on my Claim?

           The Bankruptcy Court has established February 15, 2019, at 5:00 p.m., prevailing Eastern Time, as the
Claims bar date (the “Bar Date”) in the Chapter 11 Cases. The following entities holding Claims against the Debtors
that arose (or that are deemed to have arisen) prior to the Petition Date, must file proofs of claim on or before the Bar
Date: (1) any entity whose Claim against a Debtor is not listed in the applicable Debtor’s schedules of assets and
liabilities (“Schedules”) or is listed in the applicable Debtor’s Schedules as contingent, unliquidated, or disputed if
such entity desires to participate in any of the Chapter 11 Cases or share in any distribution in any of the Chapter 11
Cases; (2) any entity that believes its Claim is improperly classified in the Schedules or is listed in an incorrect amount
and desires to have its Claim Allowed in a different classification or amount from that identified in the Schedules;

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(3) any entity that believes its Claim as listed in the Schedules is not an obligation of the specific Debtor against which
the Claim is listed and that desires to have its Claim Allowed against a Debtor other than that identified in the
Schedules; and (4) any entity that believes its Claim against a Debtor is or may be an administrative expense pursuant
to section 503(b)(9) of the Bankruptcy Code (but not any entity that believes it holds an administrative expense Claim
under section 503(b)(1) of the Bankruptcy Code).

         In accordance with Bankruptcy Rule 3003(c)(2), if any person or entity that is required, but fails, to file a
proof of claim on or before the Bar Date: (1) such person or entity will be forever barred, estopped, and enjoined from
asserting such Claim against the Debtors (or filing a proof of claim with respect thereto); (2) the Debtors and their
property may be forever discharged from any and all indebtedness or liability with respect to or arising from such
Claim; (3) such person or entity will not receive any distribution in the Chapter 11 Cases on account of that Claim;
and (4) such person or entity will not be permitted to vote on any plan or plans of reorganization for the Debtors on
account of these barred Claims or receive further notices regarding such Claim.

         As described in this Disclosure Statement, the distribution you receive on account of your Claim (if any) may
depend, in part, on the amount of Claims for which proofs of claim are filed on or before the Bar Date.

          N.      What is the deadline to vote on the Plan?

         The Voting Deadline is March 25, 2019, at 5:00 p.m. (prevailing Eastern Time).

          O.      How do I vote for or against the Plan?

          Detailed instructions regarding how to vote on the Plan are contained on the ballots distributed to Holders of
Claims that are entitled to vote on the Plan. For your vote to be counted, your ballot must be completed and signed
so that it is actually received by March 25, 2019, at 5:00 p.m. (prevailing Eastern Time) at the following address:
Shopko Ballot Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022 (or returned in
accordance with the instructions otherwise set forth on your ballot). See Article XII of this Disclosure Statement,
which begins on page 45 of this Disclosure Statement.

         If a Class of Claims or Interests is eligible to vote and no Holder of Claims or Interests, as applicable, in such
Class votes to accept or reject the Plan, the Plan shall be presumed accepted by such Class.

         P.      Why is the Bankruptcy Court holding a Confirmation Hearing?

         Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a hearing on confirmation of
the Plan and recognizes that any party in interest may object to Confirmation of the Plan.

         Q.      When is the Confirmation Hearing set to occur?

         The Bankruptcy Court has scheduled the Confirmation Hearing for April 3, 2019, at 11:00 a.m. (prevailing
Eastern Time). The Confirmation Hearing may be adjourned from time to time without further notice.

          Objections to Confirmation of the Plan must be filed and served on the Debtors, and certain other parties, by
no later than March 25, 2019, at 5:00 (prevailing Eastern Time) in accordance with the notice of the Confirmation
Hearing that accompanies this Disclosure Statement and the Disclosure Statement Order attached hereto as Exhibit C
and incorporated herein by reference.

         The Debtors will publish the notice of the Confirmation Hearing, which will contain the deadline for
objections to the Plan and the date and time of the Confirmation Hearing, in the national editions of the Omaha World-
Herald and USA Today to provide notification to those persons who may not receive notice by mail. The Debtors
may also publish the notice of the Confirmation Hearing in such trade or other publications as the Debtors may choose.




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          R.      What is the purpose of the Confirmation Hearing?

          The confirmation of a plan of reorganization by a bankruptcy court binds the debtor, any issuer of securities
under a plan of reorganization, any person acquiring property under a plan of reorganization, any creditor or equity
interest holder of a debtor, and any other person or entity as may be ordered by the bankruptcy court in accordance
with the applicable provisions of the Bankruptcy Code. Subject to certain limited exceptions, the order issued by the
bankruptcy court confirming a plan of reorganization discharges a debtor from any debt that arose before the
confirmation of such plan of reorganization and provides for the treatment of such debt in accordance with the terms
of the confirmed plan of reorganization.

          S.      What is the effect of the Plan on the Debtors’ ongoing business?

          The Debtors are reorganizing under chapter 11 of the Bankruptcy Code. As a result, Confirmation means
that the Debtors will not be liquidated or forced to go out of business. Following Confirmation, the Plan will be
consummated on the Effective Date, which is a date selected by the Debtors that is the first business day after which
all conditions to Consummation have been satisfied or waived. See Article IX of the Plan. On or after the Effective
Date, and unless otherwise provided in the Plan, the Reorganized Debtors may operate their businesses and, except as
otherwise provided by the Plan, may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules. Additionally, upon the Effective Date, all actions contemplated by the
Plan will be deemed authorized and approved.

         T.      Will any party have significant influence over the corporate governance and operations of the
                 Reorganized Debtors?

         If an Equitization Restructuring occurs, then as of the Effective Date, the term of the current members of the
board of directors of the Debtors shall expire, and the New Boards and the officers of each of the Reorganized Debtors
shall be appointed in accordance with the New Organizational Documents and other constituent documents of each
Reorganized Debtor. Provisions regarding the removal, appointment, and replacement of members of the subsequent
Reorganized Shopko shall be determined by Reorganized Shopko.

          Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will, to the extent reasonably practicable,
disclose in advance of the Confirmation Hearing the identity and affiliations of any Person proposed to serve on the
Reorganized Shopko Board, as well as those Persons that will serve as an officer of Reorganized Shopko. To the
extent any such director or officer is an “insider” under the Bankruptcy Code, the nature of any compensation to be
paid to such director or officer will also be disclosed. Provisions regarding the removal, appointment, and replacement
of members of the Reorganized Shopko Board will be disclosed in the New Organizational Documents.

         As of the Effective Date, the New Shopko Interests shall be subject to a stockholders’ agreement,
substantially in the form included in the Plan Supplement, containing terms and conditions that are commercially
reasonable, and each holder of the New Shopko Interests will be bound thereby without the need for execution by any
party thereto other than Reorganized Shopko.




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         U.      Who do I contact if I have additional questions with respect to this Disclosure Statement or the
                 Plan?

        If you have any questions regarding this Disclosure Statement or the Plan, please contact the Notice and
Claims Agent, Prime Clerk LLC:

                  By regular mail at:
                  Shopko Ballot Processing
                  c/o Prime Clerk LLC
                  830 Third Avenue, 3rd Floor
                  New York, NY 10022

                  By hand delivery or overnight mail at:
                  Shopko Ballot Processing
                  c/o Prime Clerk LLC
                  830 Third Avenue, 3rd Floor
                  New York, NY 10022

                  By electronic mail at:
                  shopkoeballots@primeclerk.com

                  By telephone at:
                  (844)-205-7495 (Domestic)
                  (347)-576-1550 (International)

          Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in the Chapter 11 Cases
are available upon written request to the Debtors’ notice, claims, and solicitation agent at the address above or by
downloading the exhibits and documents from the website of the Debtors’ notice, claims, and solicitation agent at
https://cases.primeclerk.com/shopko (free of charge) or the Bankruptcy Court’s website at www.neb.uscourts.gov (for
a fee).

          V.      Do the Debtors recommend voting in favor of the Plan?

          Yes. The Debtors believe the Plan provides for a larger distribution to the Debtors’ creditors than would
otherwise result from any other available alternative. The Debtors believe the Plan, which contemplates a significantly
reduced physical footprint and the Plan Sponsor Investment under the Equitization Restructuring, is in the best interest
of all Holders of Claims and Interests, and that other alternatives fail to realize or recognize the value inherent under
the Plan.

          W.      Who Supports the Plan?

         The Plan is supported by the Debtors and a large number of the Debtors’ creditors and stakeholders.

V.       THE DEBTORS’ PLAN

          A.      The Plan

         As discussed in Article III herein, the Plan contemplates two different paths forward, each effectuated through
a chapter 11 plan under the following applicable key terms:

                      1.   Issuance and Distribution of New Shopko Interests

         If an Equitization Restructuring occurs, on the Effective Date, the Reorganized Debtors shall issue the New
Shopko Interests to fund distributions to certain Holders of Allowed Claims in accordance with Article III of the Plan.
The issuance of New Shopko Interests under the Plan, as well as options, or other equity awards, if any, reserved under



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the Management Incentive Plan, shall be duly authorized without the need for any further corporate action and without
any further action by the Debtors or Reorganized Debtors or the Holders of Claims.

          If an Equitization Restructuring occurs, on the Effective Date, Holders of New Shopko Interests shall be
parties to the New Stockholders’ Agreement, in substantially the form included in the Plan Supplement. On the
Effective Date, Reorganized Shopko shall enter into and deliver the New Stockholders’ Agreement to each Entity that
is intended to be a party thereto, and such New Stockholders’ Agreement shall be deemed to be valid, binding, and
enforceable in accordance with its terms, and each Holder of New Shopko Interests shall be bound thereby, in each
case without the need for execution by any party thereto other than Reorganized Shopko.

                      2.   Exit Facility

          If an Equitization Restructuring occurs, on the Effective Date, the Reorganized Debtors shall enter into the
Exit Facility. Confirmation of the Plan shall be deemed approval of the Exit Facility and the Exit Facility Documents,
and all transactions contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be
incurred by the Reorganized Debtors in connection therewith, including the payment of all fees, indemnities, and
expenses provided for therein, and authorization of the Reorganized Debtors to enter into and execute the Exit Facility
Documents and such other documents as may be required to effectuate the Exit Facility.

          On the later of (i) the Effective Date and (ii) the satisfaction of the DIP Claims in accordance with Article
II.D of the Plan, all of the Liens and security interests to be granted in accordance with the Exit Facility Documents
(a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens on, and security interests in, the
applicable collateral in accordance with the respective terms of the Exit Facility Documents, (c) shall be deemed
perfected on the Effective Date, subject only to such Liens and security interests as may be permitted under the
respective Exit Facility Documents, and (d) shall not be subject to recharacterization or equitable subordination for
any purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances under the
Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities granted such
Liens and security interests shall be authorized to make all filings and recordings, and to obtain all governmental
approvals and consents necessary to establish and perfect such Liens and security interests under the provisions of the
applicable state, federal, or other law that would be applicable in the absence of the Plan and the Confirmation Order
(it being understood that perfection shall occur automatically by virtue of the entry of the Confirmation Order (subject
solely to the occurrence of the Effective Date) and any such filings, recordings, approvals, and consents shall not be
required), and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties.

                      3.   Plan Sponsor Investment

         If an Equitization Restructuring occurs, on the Effective Date, the Plan Sponsor shall consummate the Plan
Sponsor Investment, if any, in exchange for [●]% of the New Shopko Interests, subject to dilution by the Management
Incentive Plan. The Cash received from the Plan Sponsor Investment shall be contributed to the Reorganized Debtors
on the Effective Date.

                      4.   Plan Administrator

          If the Asset Sale Restructuring occurs, the Plan Administrator shall act for Reorganized Shopko in the same
fiduciary capacity as applicable to a board of managers, directors, and officers, subject to the Plan (and all certificates
of formation, membership agreements, and related documents are deemed amended by the Plan to permit and authorize
the same). On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors,
sale director of Reorganized Shopko shall be deemed to have resigned, and the Plan Administrator shall be appointed
as the sole manager, sole director, and sole officer of the Reorganized Shopko, and shall succeed to the powers of
Reorganized Shopko’s managers, directors, and officers. From and after the Effective Date, the Plan Administrator
shall be the sole representative of, and shall act for, Reorganized Shopko as further described in Article VII of the
Plan.




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                       5.   Recovery to Holders of Revolving Loan A Claims

         If an Equitization Restructuring occurs, in full and final satisfaction of each Allowed Revolving Loan A
Claim, each Holder of an Allowed Revolving Loan A Claim will either: (a) receive payment in full in Cash of such
Holder’s Allowed Revolving Loan A Claim or (b) with the consent of such Holder, receive its Pro Rata share of the
Exit Facility.

         If the Asset Sale Restructuring occurs, each Holder of an Allowed Revolving Loan A Claim shall receive its
Pro Rata share of: the Distribution Proceeds available for distribution from time to time as provided in Article VIII.G
of the Plan, until such Allowed Revolving Loan A Claims are paid in full.

                       6.   Recovery to Holders of Revolving Loan A-1 Claims

         If an Equitization Restructuring occurs, in full and final satisfaction of each Allowed Revolving Loan A-1
Claim, each Holder Allowed Revolving Loan A-1 Claim will either: (a) receive payment in full in Cash of such
Holder’s Allowed Revolving Loan A-1 Claim or (b) with the consent of such Holder, receive its Pro Rata share of the
Exit Facility.

         If the Asset Sale Restructuring occurs, each Holder of an Allowed Revolving Loan A-1 Claim shall receive
its Pro Rata share of the Distribution Proceeds available for distribution from time to time as provided in Article
VIII.G of the Plan, until such Allowed Revolving Loan A-1 Claims are paid in full.

                       7.   Recovery to Holders of Term Loan B Claims

        If an Equitization Restructuring occurs, in full and final satisfaction of each Allowed Term Loan B Claim,
each Holder of an Allowed Term Loan B Claim will receive either (a) payment in full in cash; or (b) as agreed by such
Holder of an Allowed Term Loan B Claim and the Debtors, its Pro Rata share of the Exit Facility.

         If the Asset Sale Restructuring occurs, each Holder of an Allowed Term Loan B Claim shall receive its Pro
Rata share of the Distribution Proceeds available for distribution from time to time as provided in Article VIII.G of
the Plan, until such Allowed Term Loan B Claims are paid in full.

                       8. Recovery to Holders of Term Loan B-1 Claims

         If an Equitization Restructuring occurs, in full and final satisfaction of each Allowed Term Loan B-1 Claim,
each Holder of an Allowed Term Loan B-1 Claim will receive its Pro Rata share of 19.9% of the New Shopko Interests,
subject to dilution by the Plan Sponsor Investment and the Management Incentive Plan.

         If the Asset Sale Restructuring occurs, each Holder of an Allowed Term Loan B-1 Claim shall receive its Pro
Rata share of the Distribution Proceeds available for distribution from time to time as provided in Article VIII.G of
the Plan, until such Allowed Term Loan B-1 Claims are paid in full.

                       9.   Recovery to Holders of General Unsecured Claims 7

          If an Equitization Restructuring occurs, in full and final satisfaction of each General Unsecured Claim, each
Holder of an Allowed General Unsecured Claim shall receive its Pro Rata share of, at the election of the Debtors,
either (a) 80.1 % of the New Shopko Interests, subject to dilution by the Plan Sponsor Investment and the Management
Incentive Plan or (b)] its Pro Rata share of the GUC Equitization Distribution in one or more distributions.

          If the Asset Sale Restructuring occurs, each Holder of a General Unsecured Claim will receive its Pro Rata
share of the Distribution Proceeds as provided in Article VIII.G of the Plan.


7   The Debtors reserve the right to increase the recovery to Holders of Allowed General Unsecured Claims after solicitation of
    the votes of such Holders. In that event, such Holder’s votes on the Plan will be deemed to be the votes on the Plan as modified
    to provide for any more favorable treatment to Holders of Allowed General Unsecured Claims.


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                      10. General Settlement of Claims

           Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions
of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of Action, and
controversies released, settled, compromised, discharged, satisfied, or otherwise resolved pursuant to the Plan. The
Plan shall be deemed a motion to approve the good-faith compromise and settlement of all such Claims, Interests,
Causes of Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy
Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise
is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates.

          Critical components of such settlement include the Debtor releases and third-party releases incorporated into
the Plan, treatment of and distributions to creditors under the Plan, post-emergence governance rights incentive
programs, conditions precedent to Plan confirmation, the treatment of avoidance actions, debtor-in-possession
financing, milestones, and covenants. The components of the Plan reflect and implement the concessions and
compromises agreed to by the Debtors and their stakeholders. The parties to be released under the Plan afforded value
to the Debtors and aided in the reorganization process by playing a role in the formulation of the Plan and have
expended time and resources analyzing and negotiating the complex issues presented by the Debtors’ capital structure.
The release provisions in the Plan were a component of the Debtors’ ability to achieve consensus and a prearranged
plan of reorganization that maximizes recoveries to the Debtors’ creditors and affords the Reorganized Debtors the
opportunity to restructure their business to compete effectively post-emergence. Absent the prearranged bankruptcy
filing and expeditious implementation of the Plan (which preserves trade relationships and, therefore, enterprise
value), the Debtors could face a longer, costlier, and uncertain chapter 11 process mired with contentious litigation or
a near-term liquidation, which could materially delay and reduce distributions to creditors.

         IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

        B.       Certain Key Terms Used in this Disclosure Statement

         The following are some of the defined terms used in this Disclosure Statement. This is not an exhaustive list
of defined terms in the Plan or this Disclosure Statement, but is provided for ease of reference only. Please refer to
the Plan for additional defined terms.

          “Bankruptcy Court” means the United States Bankruptcy Court for the District of Nebraska having
jurisdiction over the Chapter 11 Cases, and, to the extent of the withdrawal of reference under 28 U.S.C. § 157 and/or
the General Order of the District Court pursuant to section 151 of title 28 of the United States Code, the United States
District Court for the District of Nebraska.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the Chapter 11 Cases,
promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy
Court, each as amended from time to time.

         “Chapter 11 Cases” means when used with reference to a particular Debtor, the case pending for that Debtor
under chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and when used with reference to all of the Debtors,
the procedurally consolidated and jointly administered chapter 11 cases pending for the Debtors in the Bankruptcy
Court.

         “Claim” shall have the meaning set forth in section 101(5) of the Bankruptcy Code, asserted against a Debtor.

         “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation Order on the
docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         “Confirmation Hearing” means the hearing held by the Bankruptcy Court, if any, to consider Confirmation
of the Plan pursuant to section 1129 of the Bankruptcy Code.



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          “Cure/Assumption Objection Deadline” means the date that is 14 days after filing of the Schedule of
Assumed Executory Contracts and Unexpired Leases with the Plan Supplement and service of the Cure Notice;
provided that if any Executory Contract or Unexpired Lease is added to the Schedule of Assumed Executory Contracts
and Unexpired Leases after the filing of the initial Schedule of Assumed Executory Contracts and Unexpired Leases,
or an Executory Contract or Unexpired Lease proposed to be assumed by the Reorganized Debtors is proposed to be
assigned to a third party after the filing of the initial Schedule of Assumed Executory Contracts and Unexpired Leases,
then the Cure/Assumption Objection Deadline with respect to such Executory Contract or Unexpired Lease shall be
the earlier of (a) 14 days after service of the amended Schedule of Assumed Executory Contracts and Unexpired
Leases with such modification and (b) the date of the scheduled Confirmation Hearing.

         “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any Debtor.

         “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy Code.

          “Plan Supplement” means the compilation of documents and forms of documents, schedules, and exhibits to
the Plan, to be Filed by the Debtors no later than 14 days before the Confirmation Hearing or such later date as may
be approved by the Bankruptcy Court on notice to parties in interest, and additional documents Filed with the
Bankruptcy Court before the Effective Date as amendments to the Plan Supplement. If a Equitization Restructuring
occurs, the Plan Supplement shall comprise, among other documents, the following: (a) New Organizational
Documents; (b) Exit Facility Credit Agreements, if any; (c) Schedule of Assumed Executory Contracts and Unexpired
Leases; (d) Schedule of Rejected Executory Contracts and Unexpired Leases; (e) a list of retained Causes of Action;
(f) New Stockholders’ Agreement, if any; (g) Plan Sponsor Agreement; (h) a document listing the members of the
New Boards and the officers of the Reorganized Debtors, if any; (i) under the Asset Sale Restructuring, the identity
of the Plan Administrator and the compensation of the Plan Administrator; (j) the Management Incentive Plan and (k)
any and all other documentation necessary to effectuate the Restructuring Transactions or that is contemplated by the
Plan. The Debtors shall have the right to amend the documents contained in, and exhibits to, the Plan Supplement
through the Effective Date in accordance with Article X of the Plan

          C.      Additional Important Information

          The confirmation and effectiveness of the Plan are subject to certain material conditions precedent described
herein and set forth in Article IX of the Plan. There is no assurance that the Plan will be confirmed, or if confirmed,
that the conditions required to be satisfied for the Plan to go effective will be satisfied (or waived).

         You are encouraged to read this Disclosure Statement in its entirety, including the section entitled “Risk
Factors,” and the Plan before submitting your ballot to vote on the Plan.

       The Bankruptcy Court’s approval of this Disclosure Statement does not constitute a guarantee by the
Bankruptcy Court of the accuracy or completeness of the information contained herein or an endorsement by the
Bankruptcy Court of the merits of the Plan.

         Summaries of the Plan and statements made in this Disclosure Statement are qualified in their entirety by
reference to the Plan. The summaries of the financial information and the documents annexed to this Disclosure
Statement or otherwise incorporated herein by reference are qualified in their entirety by reference to those documents.
The statements contained in this Disclosure Statement are made only as of the date of this Disclosure Statement, and
there is no assurance that the statements contained herein will be correct at any time after such date. Except as
otherwise provided in the Plan or in accordance with applicable law, the Debtors are under no duty to update or
supplement this Disclosure Statement.

        The information contained in this Disclosure Statement is included for purposes of soliciting acceptances to,
and Confirmation of, the Plan and may not be relied on for any other purpose. In the event of any inconsistency
between the Disclosure Statement and the Plan, the relevant provisions of the Plan will govern.




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          This Disclosure Statement has not been approved or disapproved by the SEC or any similar federal, state,
local or foreign regulatory agency, nor has the SEC or any other agency passed upon the accuracy or adequacy of the
statements contained in this Disclosure Statement.

         The Debtors have sought to ensure the accuracy of the financial information provided in this Disclosure
Statement; however, the financial information contained in this Disclosure Statement or incorporated herein by
reference has not been, and will not be, audited or reviewed by the Debtors’ independent auditors unless explicitly
provided otherwise.

         Pursuant to section 1145 of the Bankruptcy Code, the issuances of the New Shopko Interests as contemplated
by the Plan are exempt from, among other things, the registration requirements of Section 5 of the Securities Act and
any other applicable U.S. state or local law requiring registration prior to the offering, issuance, distribution, or sale
of Securities. The New Shopko Interests are not “restricted securities” as defined in Rule 144(a)(3) under the
Securities Act, and (b) are freely tradable and transferable by any initial recipient thereof, subject to compliance with
the New Organizational Documents and the New Stockholders’ Agreement, that (i) is not an “affiliate” of the
Reorganized Debtors as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate” within
90 days of such transfer, and (iii) is not an entity that is an “underwriter” as defined in subsection (b) of Section 1145
of the Bankruptcy Code.

           There is not and there may not be a public market for the New Shopko Interests, and Shopko does not intend
to seek any listing of the New Shopko Interests on any stock exchange or other trading market of any type whatsoever.
Accordingly, there can be no assurance that an active trading market for the New Shopko Interests will ever develop
or, if such a market does develop, that it will be maintained.

        The Debtors make statements in this Disclosure Statement that are considered forward-looking statements
under federal securities laws. The Debtors consider all statements regarding anticipated or future matters, to be
forward-looking statements. Forward-looking statements may include statements about the Debtors’:

         •    business strategy;

         •    financial condition, revenues, cash flows, and expenses;

         •    levels of indebtedness, liquidity, and compliance with debt covenants;

         •    financial strategy, budget, projections, and operating results;

         •    general economic and business conditions;

         •    counterparty credit risk;

         •    the outcome of pending and future litigation;

         •    uncertainty regarding the Debtors’ future operating results; and

         •    plan, objections, and expectations.

          Statements concerning these and other matters are not guarantees of the Reorganized Debtors’ future
performance. There are risks, uncertainties, and other important factors that could cause the Reorganized Debtors’
actual performance or achievements to be different from those they may project, and the Debtors undertake no
obligation to update the projections made herein. These risks, uncertainties, and factors may include the following:
the Debtors’ ability to confirm and consummate the Plan; the potential that the Debtors may need to pursue an
alternative transaction if the Plan is not confirmed; the Debtors’ ability to reduce their overall financial leverage; the
potential adverse impact of the Chapter 11 Cases on the Debtors’ operations, management, and employees; the risks
associated with operating the Debtors’ businesses during the Chapter 11 Cases; customer and vendor responses to the
Chapter 11 Cases; the Debtors’ inability to discharge or settle Claims during the Chapter 11 Cases; general economic,
business, and market conditions; exposure to litigation; the Debtors’ ability to implement cost reduction initiatives in
a timely manner; the Debtors’ ability to divest existing businesses; and adverse tax changes.

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VI.        THE DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND BUSINESS OVERVIEW

            A.      The Debtors

         Shopko, along with its affiliated Debtors, are engaged in the sale of general merchandise including clothing,
accessories, electronics, and home furnishings, as well as company operated pharmacy and optical services
departments. The Debtors are headquartered in Green Bay, Wisconsin, and operate over 300 stores in 25 states
throughout the United States, as well as e-commerce operations. The Debtors and their non-Debtor subsidiaries
generated approximately $2.6 billion in revenue in fiscal year 2017 and currently employ approximately 14,000 people
throughout the United States. A corporate organization chart is attached to the Disclosure Statement as Exhibit B.

            B.       Prepetition Capital Structure

         As of the Petition Date, 8 the Debtors reported approximately $403 million in total funded debt. As described
in greater detail below, the Debtors’ significant funded debt obligations include: (a) approximately $289 million in
principal amount of obligations under the Debtors’ Revolving Loans A; (b) approximately $30 million in principal
amount of obligations under the Debtors’ Revolving Loans A-1; (c) approximately $49 million in principal amount of
obligations under the Debtors’ Term Loan B; and (d) approximately $34.4 million in principal obligations under the
Debtors’ Term Loan B-1.

                        1.   Prepetition Credit Agreement

         Specialty Retail Shops Holding Corp. and its debtor affiliates, as borrowers and guarantors; the revolving
loan lenders party thereto (the “Prepetition ABL Lenders”); the term loan lenders party thereto (the “Prepetition Term
Loan Lenders,” and together with Prepetition ABL Lenders, the “Prepetition Lenders”), Wells Fargo Bank, N.A., as
administrative agent and collateral agent for the Revolving Loans A, Revolving Loans A-1, and Term Loan B, Spirit,
as the administrative agent and collateral agent for the Term Loan B-1 (Wells Fargo Bank, N.A. and Spirit collectively,
in such capacities, the “Credit Agreement Agents” and together with the Prepetition Lenders, the “Prepetition Secured
Parties”), are parties to that certain Third Amended and Restated Credit Agreement, dated as of February 7, 2012 (as
further amended, restated, supplemented, or otherwise modified from time to time, the “Prepetition Credit
Agreement”).

          The Prepetition Credit Agreement provides for a senior secured revolving credit facility: (i) Revolving Loans
A, with a maximum availability of $700 million, and (ii) a senior secured term loan, Revolving Loans A-1, with a
maximum availability of $30 million (the Revolving Loans A and Revolving Loans A-1, together, the “Prepetition
ABL Loans” and such obligations owing thereunder the “Prepetition ABL Obligations”). As of the Petition Date, the
aggregate principal amount outstanding under the Prepetition ABL Loans was not less than $357 million. Each of the
Debtors or either borrowers or have guaranteed the Prepetition ABL Obligations. The Prepetition ABL Obligations
are secured by a first priority lien on substantially all of the Debtors’ assets that are not Term Loan Priority Collateral
(as defined in the Prepetition Credit Agreement), including accounts receivable, inventory, cash and cash equivalents
and then also by a second priority lien on the Debtors’ capital stock and other personal property, including the Debtors’
intellectual property and investment contracts (all together, the “Prepetition ABL Collateral”). Upon entry of the
interim DIP Order, as the Prepetition ABL Obligations are paid down, such Prepetition ABL Obligations will begin
converting into DIP ABL Obligations.

          The Prepetition Credit Agreement also provides for term loans: (a) Term Loan B, with a maximum
availability of $72.5 million; and (b) Term Loan B-1, with a maximum availability of $35 million (the Term Loan B
and Term Loan B-1, together, the “Prepetition Term Loans” and such obligations owing thereunder, the “Prepetition
Term Loan Obligations”). The Prepetition Term Loans mature in June 2020. As of the Petition Date, the aggregate
principal amount outstanding under the Prepetition Term Loans was approximately $83.4 million. Each of the Debtors
are either borrowers of or have guaranteed the Prepetition Term Loan Obligations. The Prepetition Term Loan
Obligations are secured by first-priority liens on the Term Loan Priority Collateral, including the Debtors’ intellectual

8     These financial figures reflect the Debtors’ most recent review of their businesses. The Debtors reserve all rights to revise
      and supplement the figures presented herein.


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property, equipment, and intangibles and books and records related to the Debtors’ intellectual property and equipment
(collectively, the “Prepetition Term Loan Collateral” and together with the Prepetition ABL Collateral, the
“Prepetition Collateral”).

VII.     EVENTS LEADING TO THE CHAPTER 11 FILINGS

          A confluence of factors contributed to the Debtors’ need to commence these chapter 11 cases. These factors
include the general downturn in the retail industry, which led to a decrease in sales and increased operating losses,
and the marked shift away from brick-and-mortar retail to online channels. These factors have made it increasingly
difficult for Debtors to maintain their cost structure as sales have remained slightly depressed, and impaired the
Debtors’ liquidity.

          A.      Challenging Operating Environment and Operational Right Sizing

           The Debtors, like many other apparel and retail companies, have faced a challenging commercial
environment as of late brought on by a shift away from traditional shopping at brick-and-mortar stores. Given the
Debtors’ substantial brick-and-mortar presence and associated expenses, the Debtors’ businesses have been heavily
dependent on in-store traffic and resulting sales conversions to meet sales and profitability targets. In addition, the
increased traffic to larger retailers such as Walmart, Target, and Kohl’s have further contributed to the Debtors’
negative or declining same store sales trends since 2016, with accelerating declines to date. The significant 2018
fiscal year performance decline was the result of a combination of factors, including: (i) merchandising, pricing, and
inventory planning operational challenges; (ii) increased pharmacy business cost and reimbursement pressures; and
(iii) the opening of new stores in 2015 and 2016 at a pace and quantity in excess of historical precedents for growth.
         Additionally, as a result of consolidation trends in the pharmacy industry, direct and indirect remuneration
fees imposed on pharmacies, sometimes weeks or months after a medication is dispensed, has decreased pharmacy
profit on a prescription transaction, sometimes leading to a loss on the prescription. Although Shopko has been able
to reduce operating costs in its pharmacies, continually reducing costs in the face of declining margins has reached its
limit. Shopko lacks purchasing scale to purchase drugs at costs similar to large national pharmacy chains, and has
seen cost increases in excess of industry trends from its primary pharmaceutical supplier, McKesson.
          B.      Supply Chain Challenges and McKesson Actions

          In the months leading up to the Petition Date, the Debtors began to experience significant pressure from
McKesson Corporation (“McKesson”)—the Debtors’ primary pharmaceutical provider. In December 2018,
McKesson sent the Debtors a letter notifying them that it intended to reduce trade terms from 45 days to one day under
that certain Restated Supply Agreement, dated February 1, 2017 (as amended, supplement, restated or otherwise
modified from time to time, the “Supply Agreement”), and thereby accelerate approximately $70 million of accounts
payable. While the Debtors disputed McKesson’s ability to force reduce trade terms, the Debtors had no alternative
pharmaceutical supplier available on such short notice, and were forced into a negotiated reduction in trade terms from
45 days to 21 days.

         Moreover, the Debtors believe they may have a claim against McKesson under the Supply Agreement for
overcharging Debtors in violation of the Cost Indexing Program implemented in the Supply Agreement. The Debtors
have been attempting to work with McKesson to investigate and resolve these claims since well before the
commencement of these proceedings, but McKesson has consistently refused to cooperate in any meaningful way.
The Debtor and their advisors intend to continue to investigate these claims during these chapter 11 proceedings for
the benefit of the estates.

         Accordingly, after careful deliberation, on December 27, 2018, Shopko ceased payments to McKesson to
preserve liquidity and manage their overall inventory position. In response, McKesson stopped shipping inventory to
Shopko. In the following days, Shopko attempted to negotiate a resolution with McKesson, as Shopko wanted to
work with McKesson to preserve the value of the prescription files, and offered to pay cash-on-delivery for new
inventory. McKesson was not receptive to these efforts and instead took a series of actions that caused harm to
Shopko.




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          On December 30, 2018, McKesson sent Shopko a letter asserting reclamation rights against all inventory it
sent Shopko in the preceding 45 days. Debtors denied the allegations in the letter, and denied McKesson’s purported
right to reclamation. While the parties were still discussing McKesson’s request, McKesson filed a motion in the
Circuit Court of Brown County, Wisconsin, on Saturday January 5, 2019, seeking a temporary restraining order (the
“TRO”) to effectuate McKesson’s reclamation demand.

          McKesson’s TRO motion sought an immediate court order to physically remove tens of millions of dollars
of prescription drugs from the shelves of Debtors’ pharmacies. The effect would have been to shut down every single
Shopko pharmacy—if not every Shopko store—in the country. During the TRO Hearing, on January 7, 2019, the
court denied McKesson’s motion. The court articulated that McKesson’s TRO request would likely have caused harm
to the Debtors’ customers—who would lose access to medication necessary for their health and well-being. Moreover,
the court explained that it was not clear that McKesson had such reclamation rights because another party had a senior
security interest in the inventory.

         During these chapter 11 cases, Shopko and its advisors intend to investigate these issues and claims for the
benefit of the estates.

          C.      Exploration of Strategic Alternatives

           The Debtors have diligently worked with their financial advisors since 2017 to develop and explore strategic
alternatives to maximize value for the Debtors and their assets. In May 2017, the Debtors engaged Houlihan Lokey,
Inc. (“Houlihan Lokey”) to act as their financial advisor and to explore alternatives. The Debtors and their advisors
engaged in a significant marketing process to solicit bids for an equity investment or the purchase of the Debtors’
assets in order to obtain the greatest proceeds to maximize the value for the Debtors’ stakeholders. Despite significant
interest, this process failed ultimately to yield a mutually acceptable transaction.

         The Debtors contacted a select group of potential bidders, and intend to combine to build off this process in
connection with the chapter cases. To that end, the Debtors have proposed the plan sponsor bidding procedures for
the process to obtain a plan sponsor’s equity investment.

         Recognizing the need to explore restructuring alternatives, in December 2017, the Debtors retained Kirkland
& Ellis LLP, as legal advisor. As a result of the Debtors’ initial efforts, the Debtors obtained an additional $35 million
in financing from Spirit in January 2018. The Debtors used this incremental liquidity to right-size its store footprint
and pursue potential sale transactions.

          In August 2018, the Debtors and their advisors commenced another process to market the Debtors assuming
an exit from the pharmacy business (which was separately marketed and yielded numerous successful transactions).
While this process yielded some interest, it became clear that the Debtors would be more attractive if marketed as part
of a comprehensive restructuring.

          In November 2018, the Debtors also retained Berkeley Research Group, LLC (“BRG”). Together, the
Debtors and their advisors analyzed the Debtors’ capital structure, potential sources of liquidity, and runway to
facilitate the operational changes necessary to reduce the burdensome operational costs associated with their brick-
and-mortar footprint, including various restructuring and recapitalization options. These efforts are more fully set
forth below.

                      1.   Pharmacy Sale Process

         Because the Debtors have not been able to profitably operate their pharmacy business, the Debtors diligently
worked with Houlihan Lokey and the Debtors’ other advisors to develop and explore several strategic alternatives to
maximize value for the Debtors’ prescription pharmaceutical inventory, prescription files and records, and pharmacy
customer lists and patient profiles (the “Pharmacy Assets”). As a result of this analysis, in August 2018, the Debtors
and their advisors engaged in a thorough marketing process to solicit bids for the Debtors’ Pharmacy Assets to
maximize value for the Debtors’ stakeholders.




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       The Debtors and their advisors contacted a total of 19 strategic buyers, including national pharmacies,
pharmacy cooperatives, pharmacy wholesalers, and regional pharmacies. Of these, 12 parties executed non-disclosure
agreements with the Debtors and began conducting due diligence.

         By mid-September 2018, the deadline for interested parties to submit bids, the Debtors received eight bids
for varying subsets of the Debtors’ Pharmacy Assets. Houlihan Lokey and the Debtors conducted multiple rounds of
negotiations with these bidders and provided detailed analyses of the value of the Pharmacy Assets at each location.

          Having begun the process with approximately 234 pharmacy locations, the Debtors and Houlihan Lokey
identified 134 locations with then actionable bids from six parties for the purchase of such respective Pharmacy Assets.
Of the 134 locations with attractive bids, the Debtors were able to execute and close agreements for 82 of the locations
prior to the Petition Date. The closing of the sales for the Pharmacy Assets at these 82 locations resulted in
approximately $95 million in proceeds. As discussed below, the Debtors intend to continue these sale efforts
postpetition and consummate sales of the remaining Pharmacy Assets within the first 45 days of these chapter 11
cases.

                      2.   Plan Sponsor Marketing Process

          In addition to the marketing and sale of the Pharmacy Assets, the Debtors and their advisors spent
considerable efforts seeking out parties who would be willing to invest new capital in the Debtors’ business. As part
of this process, Houlihan Lokey contacted 14 potential sponsors in late November. Five of these parties attended in-
person meetings with the Debtors’ management and advisors in New York on December 6, 2018. Following the
December 6, 2018 meeting, those five parties and one party that did not attend the meetings carried out extensive due
diligence of the Debtors’ business.

         Although the Debtors continued discussions with several of the potential sponsors following their due
diligence, no party has made a proposal at this time. The Debtors intend to continue these efforts postpetition and
locate a Plan sponsor under a court-approved marketing process.

                      3.   Real Estate Rationalization

          The Debtors hired Houlihan Lokey and BRG, in part, to help address the disparity between productive and
non-productive stores and rationalize the Debtors’ store footprint. With the assistance of their advisors, the Debtors
identified approximately 70 unprofitable stores that are in the process of closing. The Debtors anticipate that they will
further reduce their footprint by more than 40 stores following the Petition Date, freeing up net-working capital and
allow for more efficient operations and inventory management. The Debtors continue to analyze whether they can
improve their operations by closing additional unproductive locations.

                      4.   Discussions with Creditors

          Beginning in December 2018, the Debtors commenced comprehensive restructuring negotiations with certain
prepetition lenders, including certain of their advisors (the “Prepetition Lenders’ Advisors”). The Debtors have
facilitated the diligence of such advisors for the last several months.

         Since, December 2018, the Debtors and their advisors have engaged in a number of substantive meetings and
telephone conferences with the Prepetition Lenders’ Advisors regarding comprehensive restructuring alternatives that
would strengthen the Debtors’ balance sheet and provide necessary liquidity.

                      5.   DIP Financing

         To fund the administration of these chapter 11 cases, the Prepetition ABL Lenders and certain Prepetition
Term Loan Lenders have agreed to provide debtor-in-possession financing. The Prepetition ABL Lenders and
Prepetition Term Loan Lenders have agreed to continue to lend money on terms similar to those under the Debtors’
existing asset-based lending facility, providing the $505 million DIP Facility, pursuant to which both the revolving
loans and certain of the term loan commitments under the Debtors’ existing asset-based credit facility will convert
into the DIP Facility.


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         The DIP Facility consists of (a) $400 million in Revolving A Loans, (b) $30 million in Revolving A-1 Loans
(the “DIP ABL Loans”), and (c) $50 million in a senior secured term loan (the “DIP Term Loan B”).

VIII.    PRIOR TRANSACTIONS

          A.      SUPERVALU Transaction and Pamida Acquisition

         Shopko has grown significantly since its founding in 1962 through a combination of new store openings,
acquisitions, and mergers. In 1971, Shopko merged with SUPERVALU Inc., a Minneapolis-based grocery wholesale
company. Following opening its 100th store, in 1991, Shopko was spun-off by SUPERVALU and became an
independent, publicly owned company. In 1997, Shopko acquired Penn-Daniels Inc., a retailer operating 18 Jacks
Discount Stores. The Debtors’ largest acquisition came in 1999, with Shopko acquiring Pamida Holding Co., a retailer
operating 148 discount stores in small rural markets.

          B.      Sun Capital Transaction

        December 2005, Sun Capital Partners, Inc. (“Sun Capital”) acquired Shopko. The acquisition was effectuated
through a merger with an affiliate of Sun Capital on December 15, 2005. Subsequently, on May 31, 2006, Spirit
purchased nearly all of the Debtors’ real estate assets through a financing provided through Spirit SPE SK Acquisition,
LLC.

          C.      Special Committee

          In December 2017, to ensure a thorough and fair process with respect to the Debtors’ review of their strategic
alternatives, the board of directors or Shopko (the “Board of Directors”) appointed Steve Winograd and Mohsin
Meghji to the Board of Directors as disinterested directors (the “Independent Directors”). Each of the Independent
Directors has extensive experience serving on boards of managers and boards of directors in distressed situations. On
November 26, 2018, the Board of Directors authorized the formation of a special committee comprised of the
Independent Directors (the “Special Committee”) to, among other things, review matters regarding transactions or
negotiations which the Special Committee determines in whole or in part may result in conflicts of interest. The
Independent Directors subsequently retained Willkie Farr & Gallagher LLP (“Willkie Farr”) and Ducera Partners LLP
as independent counsel and independent financial advisor, respectively, to assist the Independent Directors in their
review. As part of this mandate, the Special Committee commenced an investigation, among other things, into certain
dividend payments to the Debtors’ direct or indirect equity owners to determine whether the Debtors’ estates may
have any claims related to such transactions. The investigation is progressing, and the Special Committee and their
advisors continue their efforts to evaluate potential claims, if any, the Debtors may have with respect to their
relationship with, among others, the Debtors’ direct or indirect equity owners, lenders, and other creditors.

IX.      EVENTS OF THE CHAPTER 11 CASES

          A.      Corporate Structure upon Emergence

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, on the Effective Date, each Debtor shall continue to exist after the Effective Date as
a separate corporation, limited liability company, partnership, or other form of entity, as the case may be, with all the
powers of a corporation, limited liability company, partnership, or other form of entity, as the case may be, pursuant
to the applicable law in the jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the
respective certificate of incorporation and bylaws (or other analogous formation documents) in effect before the
Effective Date, except to the extent such certificate of incorporation and bylaws (or other analogous formation
documents) are amended by the Plan or otherwise, and to the extent such documents are amended, such documents
are deemed to be amended pursuant to the Plan and require no further action or approval (other than any requisite
filings required under applicable state, provincial, or federal law).

          B.      Expected Timetable of the Chapter 11 Cases

         The Debtors expect the Chapter 11 Cases to proceed quickly. Should the Debtors’ projected timelines prove

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accurate, the Debtors could emerge from chapter 11 within approximately 90 days of the Petition Date. No assurances
can be made, however, that the Bankruptcy Court will enter various orders on the timetable anticipated by the
Debtors.

          C.      First Day Relief

         On the Petition Date, along with their voluntary petitions for relief under chapter 11 of the Bankruptcy Code
(the “Petitions”), the Debtors filed several motions (the “First Day Motions”) designed to facilitate the administration
of the Chapter 11 Cases and minimize disruption to the Debtors’ operations, by, among other things, easing the strain
on the Debtors’ relationships with employees, vendors, and customers following the commencement of the Chapter
11 Cases. A brief description of each of the First Day Motions and the evidence in support thereof is set forth in the
Declaration of Russell L. Steinhorst, Chief Executive Officer of Specialty Retail Shops Holding Corp., in Support of
Chapter 11 Petitions and First Day Motions, filed on the Petition Date. Significantly, pursuant to the First Day
Motions, the Debtors sought the authority to pay the Claims of a number of their vendors in full, in the regular course
of business.

         The First Day Motions, and all proposed orders for relief in the Chapter 11 Cases, can be viewed free of
charge at https://cases.primeclerk.com/shopko.

          D.      Approval of the DIP Facility

         Based on the Debtors’ need for debtor-in-possession financing and their conclusion that the DIP Facility
represents the best terms available, on the Petition Date, the Debtors filed a motion on the Petition Date seeking
authorization to enter into the DIP Facility on an interim and final basis (the “DIP Motion”).

          E.      Executory Contracts and Unexpired Leases

                      1.   Assumption and Rejection of Executory Contracts and Unexpired Leases

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest in a
particular class only if such claim or equity interest is substantially similar to the other claims or equity interests in
such class. The Debtors believe that the classification of the Claims and Interests under the Plan complies with the
requirements set forth in the Bankruptcy Code because the Debtors created Classes of Claims and Interests each
encompassing Claims or Interests, as applicable, that are substantially similar to the other Claims or Interests, as
applicable, in each such Class. Nevertheless, there can be no assurance that the Bankruptcy Court will reach the same
conclusion.

          As set forth in the Debtors’ Motion For Entry of an Order For Approval of Procedures to Assume or Reject
Executory Contracts and Unexpired Leases (the “Lease Rejection Procedures Motion”) that was filed on the Petition
Date, the Debtors are party to a large number of unexpired non-residential real property leases. Further, the Debtors
are party to a substantial number of executory contracts. In connection with their restructuring efforts, the Debtors
are attempting to enhance the competitiveness of their operations, which, among other things, involves a careful and
comprehensive evaluation of all aspects of the Debtors’ leases and supply chain. The Debtors intend to utilize the
tools afforded a chapter 11 debtor to achieve the necessary cost savings and operational effectiveness envisioned in
their revised strategic business plan, including modifying or, in some cases eliminating, burdensome or underutilized
agreements and leases.

         As such, the Debtors are conducting a comprehensive analysis of their executory contracts and unexpired
leases and have, and intend to continue to, engage in extensive discussions with contract and lease counterparties
regarding the contributions such parties are making to the restructuring process and can make to the post-emergence
businesses.

          The Debtors intend to file the Schedule of Assumed Executory Contracts and Unexpired Leases and the
Schedule of Rejected Executory Contracts and Unexpired Leases no later than eight days before the Voting Deadline,
as part of the Plan Supplement.

         If the Equitization Restructuring occurs, on the Confirmation Date, except as otherwise provided in the Plan

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or otherwise agreed to by the Debtors and the counterparty to an Executory Contract or Unexpired Lease, all Executory
Contracts or Unexpired Leases not previously assumed, assumed and assigned, or rejected in the Chapter 11 Cases,
shall be deemed assumed by the Reorganized Debtors, effective as of the Effective Date, in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code and regardless of whether such
Executory Contract or Unexpired Lease is set forth on the Schedule of Assumed Executory Contracts and Unexpired
Leases, other than: (1) those that are identified on the Schedule of Rejected Executory Contracts and Unexpired
Leases; (2) those that have been previously rejected by a Final Order; (3) those that are the subject of a motion to
reject Executory Contracts or Unexpired Leases that is pending on the Confirmation Date; or (4) those that are subject
to a motion to reject an Executory Contract or Unexpired Lease pursuant to which the requested effective date of such
rejection is after the Effective Date. Except as otherwise provided in the Plan, the Debtors shall assume, assume and
assign, or reject, as the case may be, Executory Contracts and Unexpired Leases set forth in the applicable Schedules
in the Plan Supplement. Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the
assumptions, assumptions and assignments, or rejections of such Executory Contracts or Unexpired Leases as set forth
in the Plan or the Schedule of Rejected Executory Contracts and Unexpired Leases, pursuant to sections 365(a) and
1123 of the Bankruptcy Code, except as otherwise provided in the Plan or the Confirmation Order. Unless otherwise
indicated or agreed by the Debtors and the applicable contract counterparties, assumptions, assumptions and
assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the
Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court
order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by any order of the Bankruptcy Court authorizing and providing for its assumption under applicable federal law or as
otherwise agreed by the Debtors and the applicable counterparty to the Executory Contract or Unexpired Lease.

         If the Asset Sale Restructuring occurs, on the Effective Date, except as otherwise provided herein, each
Executory Contract and Unexpired Lease not previously rejected, assumed, or assumed and assigned, including any
employee benefit plans, severance plans, and other Executory Contracts under which employee obligations arise, shall
be deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such Executory
Contract or Unexpired Lease: (1) is specifically described in the Plan as to be assumed in connection with
confirmation of the Plan, or is specifically scheduled to be assumed or assumed and assigned pursuant to the Plan or
the Plan Supplement; (2) is subject to a pending motion to assume such Unexpired Lease or Executory Contract as of
the Effective Date; (3) is to be assumed by the Debtors or assumed by the Debtors and assigned to another third party,
as applicable, in connection with the any sale transaction; (4) is a contract, instrument, release, indenture, or other
agreement or document entered into in connection with the Plan; or (5) is a D&O Liability Insurance Policy. Entry
of the Confirmation Order by the Bankruptcy Court shall constitute approval of such assumptions, assignments, and
rejections, including the assumption of the Executory Contracts or Unexpired Leases as provided in the Plan
Supplement, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

         Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the assumptions,
assumptions and assignments, or rejections of such Executory Contracts or Unexpired Leases as set forth in the Plan
or the Schedule of Rejected Executory Contracts and Unexpired Leases, pursuant to sections 365(a) and 1123 of the
Bankruptcy Code, except as otherwise provided in the Plan or the Confirmation Order. Unless otherwise indicated or
agreed by the Debtors and the applicable contract counterparties, assumptions, assumptions and assignments, or
rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective Date.
Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order but not
assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the applicable contracting
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by any order of the
Bankruptcy Court authorizing and providing for its assumption under applicable federal law or as otherwise agreed
by the Debtors and the applicable counterparty to the Executory Contract or Unexpired Lease.

                      2.   Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Proofs of Claims with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, if any, must be Filed with the Bankruptcy Court within the latest to occur of: (1) 30 days after the date of entry
of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection; (2) 30 days after
the Debtors provide notice of surrender of possession to a landlord of a rejected lease where surrender occurs after
entry of an order approving such rejection; and (3) 30 days after notice of any rejection that occurs after the Effective

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Date. Any Holders of Claims arising from the rejection of an Executory Contract or Unexpired Lease for which
Proofs of Claims were not timely Filed shall not (1) be treated as a creditor with respect to such Claim, (2) be
permitted to vote to accept or reject the Plan on account of any Claim arising from such rejection, or
(3) participate in any distribution in the Chapter 11 Cases on account of such Claim, and any Claims arising
from the rejection of an Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within
such time will be automatically Disallowed, forever barred from assertion, and shall not be enforceable against
the Debtors, the Debtors’ Estates, Reorganized Shopko, or the property for any of the foregoing without the
need for any objection by the Debtors, Reorganized Debtors, or the Plan Administrator, as applicable, or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully compromised,
settled, and released, notwithstanding anything in the Schedules or a Proof of Claim to the contrary. Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III of the Plan.

         If the Equitization Restructuring occurs, counterparties to Executory Contracts or Unexpired Leases listed
on the Schedule of Rejected Executory Contracts and Unexpired Leases shall be served with a notice of rejection of
Executory Contracts and Unexpired Leases substantially in the form approved by the Bankruptcy Court pursuant to
the Bankruptcy Court order approving the Disclosure Statement as soon as reasonably practicable following entry of
the Bankruptcy Court order approving the Disclosure Statement.

                     3.   Cure of Default for Assumed Executory Contracts and Unexpired Leases

         Any monetary defaults under an Executory Contract or Unexpired Lease to be assumed or assumed and
assigned, shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure Claim, as
reflected on the Cure Notice or as otherwise agreed or determined by a Final Order of the Court, in Cash on the
Effective Date or as soon as reasonably practicable thereafter, subject to the limitations described below, or on such
other terms as the parties to such Executory Contract or Unexpired Leases may otherwise agree. In the event of a
dispute regarding: (1) the amount of any Cure Claim; (2) the ability of the Reorganized Debtors or any assignee, as
applicable, to provide “adequate assurance of future performance” (with the meaning of section 365 of the Bankruptcy
Code) under the Executory Contract or Unexpired Lease to be assumed; or (3) any other matter pertaining to
assumption, the Cure Claims shall be made following the entry of a Final Order resolving the dispute and approving
the assumption.

          At least eight days before the Voting Deadline, the Debtors shall distribute, or cause to be distributed, Cure
Notices to the applicable third parties. Any objection by a counterparty to an Executory Contract or Unexpired
Lease to the proposed assumption, assumption and assignment, or related Cure Claim must be Filed by the
Cure/Assumption Objection Deadline. Any counterparty to an Executory Contract or Unexpired Lease that fails to
object timely to the proposed assumption, assumption and assignment, or Cure Notice will be deemed to have assented
to such assumption or assumption and assignment, and Cure Claim. To the extent that the Debtors seek to assume
and assign an Unexpired Lease pursuant to the Plan, the Debtors will identify the assignee in the applicable Cure
Notice and/or Schedule and provide “adequate assurance of future performance” for such assignee (within the meaning
of section 365 of the Bankruptcy Code) under the applicable Executory Contract or Unexpired Lease to be assumed
and assigned.

         In the event of an unresolved dispute regarding (1) the amount of any Cure Claim, (2) the ability of the
Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the meaning of
section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or assumed
and assigned, or (3) any other matter pertaining to assumption, assignment, or payments of any Cure Claims required
by section 365(b)(1) of the Bankruptcy Code, such dispute shall be resolved by a Final Order(s) of the Bankruptcy
Court.

         Assumption or assumption and assignment of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise, and the payment of the Cure Claim, shall result in the full release and satisfaction of any Claims or
defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed Executory Contract
or Unexpired Lease at any time before the date that the Debtors assume or assume and assign such Executory Contract

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or Unexpired Lease. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has
been assumed or assumed and assigned shall be deemed Disallowed and expunged, without further notice to or action,
order, or approval of the Bankruptcy Court.

                      4.   Adequate Assurance of Future Performance Under Assumed Executory Contracts and
                           Unexpired Leases

        The Debtors have provided Financial Projections attached hereto as Exhibit D and are prepared to
demonstrate the feasibility of the Plan at the Confirmation Hearing in satisfaction of any obligation to provide adequate
assurance of future performance under Executory Contracts and Unexpired Leases that are assumed under the Plan.

          F.      Lease Renegotiation and Store Closing Process

         On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of Interim and Final Orders (I)
Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving Procedures for Store Closing Sales, and
(III) Granting Related Relief (the “Store Closing Motion”) seeking to implement a key component of their
restructuring strategy and right-size their operations by closing underperforming or geographically undesirable stores.
These efforts, which are ongoing, are part of the Debtors’ attempt to rationalize their store fleet.

          G.      Schedules and Statements

          On the Petition Date, the Debtors filed their Motion For Entry of an Order (I) Extending Time to File
Schedules of Assets and Liabilities, Schedules of Current Income and Expenditure, Schedules of Executory Contracts
and Unexpired Leases, Statements of Financial Affairs, and Rule 2015.3 Financial Reports, and (II) Granting Related
Relief (the “SOFA Extension Motion”).

          H.      Litigation Matters

        In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings, collection
proceedings, and claims arising out of their business operations. The Debtors cannot predict with certainty the
outcome of these lawsuits, legal proceedings, and claims.

         With certain exceptions, the filing of the Chapter 11 Cases operates as a stay with respect to
the commencement or continuation of litigation against the Debtors that was or could have been commenced
before the commencement of the Chapter 11 Cases. In addition, the Debtors’ liability with respect to litigation stayed
by the commencement of the Chapter 11 Cases generally is subject to discharge, settlement, and release upon
confirmation of a plan under chapter 11, with certain exceptions. Therefore, certain litigation Claims against the
Debtors may be subject to discharge in connection with the Chapter 11 Cases.

X.       PROJECTED FINANCIAL INFORMATION

         Attached hereto as Exhibit D is a projected consolidated income statement, which includes consolidated,
projected, unaudited, financial statement information of the Reorganized Debtors (collectively, the “Financial
Projections”) for the period beginning 2018 and continuing through 2022. The Financial Projections are based on an
assumed Effective Date of April 15, 2019. To the extent that the Effective Date occurs before or after April 15, 2019,
recoveries on account of Allowed Claims could be impacted.

         Creditors and other interested parties should see the below “Risk Factors” for a discussion of certain factors
that may affect the future financial performance of the Reorganized Debtors.

XI.      RISK FACTORS

          Holders of Claims should read and consider carefully the risk factors set forth below before voting to accept
or reject the Plan. Although there are many risk factors discussed below, these factors should not be regarded as
constituting the only risks present in connection with the Debtors’ businesses or the Plan and its implementation.


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          A.      Bankruptcy Law Considerations

          The occurrence or non-occurrence of any or all of the following contingencies, and any others, could affect
distributions available to Holders of Allowed Claims under the Plan but will not necessarily affect the validity of the
vote of the Impaired Classes to accept or reject the Plan or necessarily require a re-solicitation of the votes of Holders
of Claims in such Impaired Classes.

                      1.   Parties in Interest May Object to the Plan’s Classification of Claims and Interests

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest in a
particular class only if such claim or equity interest is substantially similar to the other claims or equity interests in
such class. The Debtors believe that the classification of the Claims and Interests under the Plan complies with the
requirements set forth in the Bankruptcy Code because the Debtors created Classes of Claims and Interests each
encompassing Claims or Interests, as applicable, that are substantially similar to the other Claims or Interests, as
applicable, in each such Class. Nevertheless, there can be no assurance that the Bankruptcy Court will reach the same
conclusion.

                      2.   The Conditions Precedent to the Effective Date of the Plan May Not Occur

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number of conditions
precedent. If such conditions precedent are not met or waived, the Effective Date will not take place.

                      3.   The Debtors May Fail to Satisfy Vote Requirements

          If votes are received in number and amount sufficient to enable the Bankruptcy Court to confirm the Plan,
the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the event that sufficient
votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan. There can be no assurance
that the terms of any such alternative chapter 11 plan would be similar or as favorable to the Holders of Allowed
Claims and Interests as those proposed in the Plan.

                      4.   The Debtors May Not Be Able to Secure Confirmation of the Plan

          Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11 plan, and
requires, among other things, a finding by the Bankruptcy Court that: (a) such plan “does not unfairly discriminate”
and is “fair and equitable” with respect to any non-accepting classes; (b) confirmation of such plan is not likely to be
followed by a liquidation or a need for further financial reorganization unless such liquidation or reorganization is
contemplated by the plan; and (c) the value of distributions to non-accepting Holders of claims and equity interests
within a particular class under such plan will not be less than the value of distributions such Holders would receive if
the debtors were liquidated under chapter 7 of the Bankruptcy Code.

          There can be no assurance that the requisite acceptances to confirm the Plan will be received. Even if the
requisite acceptances are received, there can be no assurance that the Bankruptcy Court will confirm the Plan. A non-
accepting Holder of an Allowed Claim might challenge either the adequacy of this Disclosure Statement or whether
the balloting procedures and voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules.
Even if the Bankruptcy Court determines that this Disclosure Statement, the balloting procedures, and voting results
are appropriate, the Bankruptcy Court could still decline to confirm the Plan if it finds that any of the statutory
requirements for Confirmation are not met. If a chapter 11 plan of reorganization is not confirmed by the Bankruptcy
Court, it is unclear whether the Debtors will be able to reorganize their business and what, if anything, Holders of
Allowed Claims against them would ultimately receive on account of such Allowed Claims.

         Confirmation of the Plan is also subject to certain conditions as described in Article IX of the Plan. If the
Plan is not confirmed, it is unclear what distributions, if any, Holders of Allowed Claims will receive on account of
such Allowed Claims.

         The Debtors, subject to the terms and conditions of the Plan reserve the right to modify the terms and
conditions of the Plan as necessary for Confirmation. Any such modifications could result in less favorable treatment
of any non-accepting Class, as well as any Class junior to such non-accepting Class, than the treatment currently

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provided in the Plan. Such a less favorable treatment could include a distribution of property with a lesser value than
currently provided in the Plan or no distribution whatsoever under the Plan.

                      5.   Nonconsensual Confirmation

         In the event that any impaired class of claims or interests does not accept a chapter 11 plan, a bankruptcy
court may nevertheless confirm a plan at the proponents’ request if at least one impaired class (as defined under section
1124 of the Bankruptcy Code) has accepted the plan (with such acceptance being determined without including the
vote of any “insider” in such class), and, as to each impaired class that has not accepted the plan, the bankruptcy court
determines that the plan “does not discriminate unfairly” and is “fair and equitable” with respect to the dissenting
impaired class(es). The Debtors believe that the Plan satisfies these requirements, and the Debtors may request such
nonconsensual Confirmation in accordance with subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can
be no assurance that the Bankruptcy Court will reach this conclusion. In addition, the pursuit of nonconsensual
Confirmation or Consummation of the Plan may result in, among other things, increased expenses relating to
professional compensation.

                      6.   Continued Risk Upon Confirmation

          Even if a chapter 11 plan of reorganization is consummated, the Debtors will continue to face a number of
risks, including certain risks that are beyond their control, such as further industry deterioration or other changes in
economic conditions, and increasing expenses. Some of these concerns and effects typically become more acute when
a case under the Bankruptcy Code continues for a protracted period without indication of how or when the case may
be completed. As a result of these risks and others, there is no guarantee that a chapter 11 plan of reorganization
reflecting the Plan will achieve the Debtors’ stated goals.

          In addition, at the outset of the Chapter 11 Cases, the Bankruptcy Code will give the Debtors the exclusive
right to propose the Plan and will prohibit creditors and others from proposing a plan. The Debtors will have retained
the exclusive right to propose the Plan upon filing their petitions for chapter 11 relief. If the Bankruptcy Court
terminates that right, however, or the exclusivity period expires, there could be a material adverse effect on the
Debtors’ ability to achieve confirmation of the Plan in order to achieve the Debtors’ stated goals.

         Furthermore, even if the Debtors’ debts are reduced and/or discharged through the Plan, the Debtors may
need to raise additional funds through public or private debt or equity financing or other various means to fund the
Debtors’ business after the completion of the proceedings related to the Chapter 11 Cases. Adequate funds may not
be available when needed or may not be available on favorable terms.

                      7.   The Chapter 11 Cases May Be Converted to Cases Under Chapter 7 of the Bankruptcy
                           Code

          If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the debtor in a chapter
11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a case under chapter 7 of the Bankruptcy
Code. In such event, a chapter 7 trustee would be appointed or elected to liquidate the debtor’s assets for distribution
in accordance with the priorities established by the Bankruptcy Code. The Debtors believe that liquidation under
chapter 7 would result in significantly smaller distributions being made to creditors than those provided for in a chapter
11 plan because of (a) the likelihood that the assets would have to be sold or otherwise disposed of in a disorderly
fashion over a short period of time rather than reorganizing or selling in a controlled manner affecting the business as
a going concern, (b) additional administrative expenses involved in the appointment of a chapter 7 trustee, and
(c) additional expenses and Claims, some of which would be entitled to priority, that would be generated during the
liquidation, and including Claims resulting from the rejection of Unexpired Leases and other Executory Contracts in
connection with cessation of operations.

                      8.   The Debtors May Object to the Amount or Classification of a Claim

         Except as otherwise provided in the Plan, the Debtors reserve the right to object to the amount or classification
of any Claim under the Plan. The estimates set forth in this Disclosure Statement cannot be relied upon by any Holder
of a Claim where such Claim is subject to an objection. Any Holder of a Claim that is subject to an objection thus


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may not receive its expected share of the estimated distributions described in this Disclosure Statement.

                      9.   Risk of Non-Occurrence of the Effective Date

         Although the Debtors believe that the Effective Date may occur quickly after the Confirmation Date, there
can be no assurance as to such timing or as to whether the Effective Date will, in fact, occur.

                      10. Contingencies Could Affect Votes of Impaired Classes to Accept or Reject the Plan

          The distributions available to Holders of Allowed Claims under the Plan can be affected by a variety of
contingencies, including, without limitation, whether the Bankruptcy Court orders certain Allowed Claims to be
subordinated to other Allowed Claims. The occurrence of any and all such contingencies, which could affect
distributions available to Holders of Allowed Claims under the Plan, will not affect the validity of the vote taken by
the Impaired Classes to accept or reject the Plan or require any sort of revote by the Impaired Classes.

          The estimated Claims and creditor recoveries set forth in this Disclosure Statement are based on various
assumptions, and the actual Allowed amounts of Claims may significantly differ from the estimates. Should one or
more of the underlying assumptions ultimately prove to be incorrect, the actual Allowed amounts of Claims may vary
from the estimated Claims contained in this Disclosure Statement. Moreover, the Debtors cannot determine with any
certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such differences may
materially and adversely affect, among other things, the percentage recoveries to Holders of Allowed Claims under
the Plan.

                      11. Releases, Injunctions, and Exculpations Provisions May Not Be Approved

          Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including a release of
liens and third-party releases that may otherwise be asserted against the Debtors, Reorganized Debtors, or Released
Parties, as applicable. The releases, injunctions, and exculpations provided in the Plan are subject to objection by
parties in interest and may not be approved. If the releases are not approved, certain Released Parties may withdraw
their support for the Plan.

          B.      Risks Related to Recoveries under the Plan

                      1.   The Debtors May Not Be Able to Achieve Their Projected Financial Results

          With respect to Holders of Interests in the Reorganized Debtors, the Reorganized Debtors may not be able to
achieve their projected financial results. The Financial Projections set forth in this Disclosure Statement represent the
Debtors’ management team’s best estimate of the Debtors’ future financial performance, which is necessarily based
on certain assumptions regarding the anticipated future performance of the Reorganized Debtors’ operations, as well
as the United States and world economies in general, and the particular industry segments in which the Debtors operate
in particular, and other matters, many of which are beyond the control of the Debtors and some or all of which may
not materialize. In addition, unanticipated events and circumstances occurring subsequent to the date that the
Disclosure Statement is approved by the Court may affect the actual financial results of the Debtors’ operations. These
variations may be material and may adversely affect the ability of the Debtors to make payments with respect to
indebtedness following the Effective Date. Because the actual results achieved throughout the periods covered by the
projections may vary from the projected results, the projections should not be relied upon as an assurance of the actual
results that will occur. Except with respect to the projections and except as otherwise specifically and expressly stated,
the Disclosure Statement does not reflect any events that may occur subsequent to the date of the Disclosure Statement.
Such events may have a material impact on the information contained in the Disclosure Statement. The Debtors do
not intend to update the projections and, therefore, the projections will not reflect the impact of any subsequent events
not already accounted for in the assumptions underlying the projections. If the Debtors do not achieve their projected
financial results, (a) the value of the New Shopko Interests may be negatively affected, (b) the Debtors may lack
sufficient liquidity to continue operating as planned after the Effective Date, and (c) the Debtors may be unable to
service their debt obligations as they come due. Moreover, the financial condition and results of operations of the
Reorganized Debtors from and after the Effective Date may not be comparable to the financial condition or results of
operations reflected in the Debtors’ historical financial statements.


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                      2.   The Plan Exchanges Senior Securities for Junior Securities

          If the Plan is confirmed and consummated, certain Holders of Claims will receive New Shopko Interests.
Thus, in agreeing to the Plan, certain of such Holders will be consenting to the exchange of their interests in senior
debt for junior securities that will be subordinate to all future creditor claims.

                      3.   A Liquid Trading Market for the New Shopko Interests

          The Debtors make no assurance that a liquid trading market for the New Shopko Interests will develop.
The liquidity of any market for the New Shopko Interests will depend, among other things, upon the number of holders
of the New Shopko Interests, the Reorganized Debtors’ financial performance, and the market for similar securities,
none of which can be determined or predicted. Therefore, the Debtors cannot assure that an active trading market will
develop or, if a market develops, what the liquidity or pricing characteristics of that market will be. The New Shopko
Interests may also be subject to trading restrictions by the New Organizational Documents and the New Stockholders’
Agreement.

         On the Effective Date, none of the New Shopko Interests will be registered under the Securities Act or the
Securities Exchange Act or listed on a national securities exchange, Reorganized Shopko will not be a reporting
company under the Securities Exchange Act, Reorganized Shopko shall not be required to and will not file reports
with the Securities and Exchange Commission or any other entity or party, and Reorganized Shopko shall not be
required to file monthly operating reports with the Bankruptcy Court after the Effective Date. In order to prevent
Reorganized Shopko from becoming subject to the reporting requirements of the Securities Exchange Act, except in
connection with a public offering, a separate agreement or the New Organizational Documents may impose certain
trading restrictions, and the New Shopko Interests may be subject to certain transfer and other restrictions designed to
maintain Reorganized Shopko as a private, non-reporting company.

          Notwithstanding the foregoing in this risk factor, from and after the Effective Date, Reorganized Shopko
will be required to provide (via separate agreement or in the New Organization Documents) to its shareholders
audited annual and unaudited quarterly financial statements for such periods, with such statements being prepared in
accordance with U.S. GAAP (for the avoidance of doubt, no SAS 100 review, compliance with any other
requirement of Regulation S-X under the Securities Act or narrative disclosure required to be provided by reporting
companies under the Securities Exchange Act in periodic or other reports (including, without limitation, a
Management’s Discussion and Analysis of Financial Condition and Results of Operations) is required in connection
with the delivery of the required financial statements).
                      4.   The Restructuring of the Debtors May Adversely Affect the Debtors’ Tax Attributes

          Under federal income tax law, a corporation is generally permitted to deduct from taxable income NOLs
carried forward from prior years. The Debtors have federal NOL carryforwards of approximately $241.2 million as of
January 31, 2018. The Debtors are currently generating additional tax losses, which will ultimately increase the
Debtors’ NOLs and other tax attributes, and are also currently generating additional taxable income and gains from
the sale of pharmacy assets, which will ultimately decrease the Debtors’ NOLs and other tax attributes.

          The Debtors’ ability to utilize their NOL carryforwards and other tax attributes to offset future taxable income
and to reduce federal income tax liability is subject to certain requirements and restrictions. In general, such NOLs
and other tax attributes could be reduced by the amount of discharge of indebtedness arising in a chapter 11 case under
section 108 of the Internal Revenue Code of 1986, as amended (the “Tax Code”) or to offset any taxable gains
recognized by the Debtors attributable to the restructuring transactions. In addition, if the Debtors experience an
“ownership change,” as defined in section 382 of the Tax Code, then their ability to use the NOL carryforwards may
be substantially limited, which could have a negative impact on the Debtors’ financial position and results of
operations. Generally, there is an “ownership change” if one or more stockholders owning 5 percent or more of a
corporation’s common stock have aggregate increases in their ownership of such stock of more than 50 percentage
points over the prior three-year period. Following the implementation of a plan of reorganization, it is possible that
an “ownership change” may be deemed to occur. Under section 382 of the Tax Code, absent an applicable exception,
if a corporation undergoes an “ownership change,” the amount of its NOLs that may be utilized to offset future taxable
income generally is subject to an annual limitation. The Debtors currently expect that their net operating loss


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carryforwards and other tax attributes may be significantly reduced, eliminated, or limited in connection with the
restructuring transactions, through a combination of one or more of the above factors.

         For a detailed description of the effect consummation of the Plan may have on the Debtors’ tax attributes,
see “Certain United States Federal Income Tax Consequences of the Plan,” which begins on page 45 herein.

          C.      Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses

                     5.    The Debtors May Not Be Able to Generate Sufficient Cash to Service All of Their
                           Indebtedness

          The Debtors’ ability to make scheduled payments on, or refinance their debt obligations depends on the
Debtors’ financial condition and operating performance, which are subject to prevailing economic, industry, and
competitive conditions and to certain financial, business, legislative, regulatory, and other factors beyond the Debtors’
control (including the factors discussed in Article XI., which begins on page 32, herein). The Debtors may be unable
to maintain a level of cash flow from operating activities sufficient to permit the Debtors to pay the principal, premium,
if any, and interest on their indebtedness, including the notes.

                     6.    The Debtors Will Be Subject to the Risks and Uncertainties Associated with the Chapter
                           11 Cases

          For the duration of the Chapter 11 Cases, the Debtors’ ability to operate, develop, and execute a business
plan, and continue as a going concern, will be subject to the risks and uncertainties associated with bankruptcy. These
risks include the following: (a) ability to develop, confirm, and consummate the restructuring transactions specified
in the Plan or an alternative restructuring transaction; (b) ability to obtain court approval with respect to motions filed
in the Chapter 11 Cases from time to time; (c) ability to maintain relationships with suppliers, service providers,
customers, employees, vendors, and other third parties; (d) ability to maintain contracts that are critical to the Debtors’
operations; (e) ability of third parties to seek and obtain court approval to terminate contracts and other agreements
with the Debtors; (f) ability of third parties to seek and obtain court approval to terminate or shorten the exclusivity
period for the Debtors to propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert the
Chapter 11 Cases to chapter 7 proceedings; and (g) the actions and decisions of the Debtors’ creditors and other third
parties who have interests in the Chapter 11 Cases that may be inconsistent with the Debtors’ plans.

         These risks and uncertainties could affect the Debtors’ businesses and operations in various ways. For
example, negative events associated with the Chapter 11 Cases could adversely affect the Debtors’ relationships with
suppliers, service providers, customers, employees, and other third parties, which in turn could adversely affect the
Debtors’ operations and financial condition. Also, the Debtors will need the prior approval of the Bankruptcy Court
for transactions outside the ordinary course of business, which may limit the Debtors’ ability to respond timely to
certain events or take advantage of certain opportunities. Because of the risks and uncertainties associated with the
Chapter 11 Cases, the Debtors cannot accurately predict or quantify the ultimate impact of events that occur during
the Chapter 11 Cases that may be inconsistent with the Debtors’ plans.

                      7.   Operating in Bankruptcy for a Long Period of Time May Harm the Debtors’ Businesses

          The Debtors’ future results will be dependent upon the successful confirmation and implementation of a plan
of reorganization. A long period of operations under Bankruptcy Court protection could have a material adverse effect
on the Debtors’ businesses, financial condition, results of operations, and liquidity. So long as the proceedings related
to the Chapter 11 Cases continue, senior management will be required to spend a significant amount of time and effort
dealing with the reorganization instead of focusing exclusively on business operations. A prolonged period of
operating under Bankruptcy Court protection also may make it more difficult to retain management and other key
personnel necessary to the success and growth of the Debtors’ businesses. In addition, the longer the proceedings
related to the Chapter 11 Cases continue, the more likely it is that customers and suppliers will lose confidence in the
Debtors’ ability to reorganize their businesses successfully and will seek to establish alternative commercial
relationships. So long as the proceedings related to the Chapter 11 Cases continue, the Debtors will be required to
incur substantial costs for professional fees and other expenses associated with the administration of the Chapter 11
Cases.

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         Furthermore, the Debtors cannot predict the ultimate amount of all settlement terms for the liabilities that
will be subject to a plan of reorganization. Even after a plan of reorganization is approved and implemented, the
Debtors’ operating results may be adversely affected by the possible reluctance of prospective lenders and other
counterparties to do business with a company that recently emerged from bankruptcy protection.

                      8.   Financial Results May Be Volatile and May Not Reflect Historical Trends

          During the Chapter 11 Cases, the Debtors expect that their financial results will continue to be volatile as
asset impairments, asset dispositions, restructuring activities and expenses, contract terminations and rejections, and
claims assessments significantly impact the Debtors’ consolidated financial statements. As a result, the Debtors’
historical financial performance likely will not be indicative of their financial performance after the Petition Date.

          In addition, if the Debtors emerge from chapter 11, the amounts reported in subsequent consolidated financial
statements may materially change relative to historical consolidated financial statements, including as a result of
revisions to the Debtors’ operating plans pursuant to a plan of reorganization. The Debtors also may be required to
adopt fresh start accounting, in which case their assets and liabilities will be recorded at fair value as of the fresh start
reporting date, which may differ materially from the recorded values of assets and liabilities on the Debtors’
consolidated balance sheets. The Debtors’ financial results after the application of fresh start accounting also may be
different from historical trends.

                      9.   The Reorganized Debtors May Be Adversely Affected by Potential Litigation, Including
                           Litigation Arising Out of the Chapter 11 Cases

          The Debtors are currently subject to or interested in certain legal proceedings, some of which may adversely
affect the Debtors. In the future, the Reorganized Debtors may become party to litigation. In general, litigation can
be expensive and time consuming to bring or defend against. Such litigation could result in settlements or damages
that could significantly affect the Reorganized Debtors’ financial results. It is also possible that certain parties will
commence litigation with respect to the treatment of their Claims under the Plan. It is not possible to predict the
potential litigation that the Reorganized Debtors may become party to, nor the final resolution of such litigation. The
impact of any such litigation on the Reorganized Debtors’ businesses and financial stability, however, could be
material.

                      10. The Loss of Key Personnel Could Adversely Affect the Debtors’ Operations

          The Debtors’ operations are dependent on a relatively small group of key management personnel, including
the Debtors’ executive officers. The Debtors’ recent liquidity issues and the Chapter 11 Cases have created
distractions and uncertainty for key management personnel and employees. As a result, the Debtors have experienced
and may continue to experience increased levels of employee attrition. The Debtors may be unable to find acceptable
replacements with comparable skills and experience and the loss of such key management personnel could adversely
affect the Debtors’ ability to operate their businesses. In addition, a loss of key personnel or material erosion of
employee morale could have a material adverse effect on the Debtors’ ability to meet customer and counterparty
expectations, thereby adversely affecting the Debtors’ businesses and the results of operations.

                      11. Certain Claims May Not Be Discharged and Could Have a Material Adverse Effect on
                          the Debtors’ Financial Condition and Results of Operations

          The Bankruptcy Code provides that the confirmation of a plan of reorganization discharges a debtor from
substantially all debts arising prior to confirmation. With few exceptions, all claims that arise prior to the Debtors’
filing a petition for reorganization under the Bankruptcy Code or before confirmation of the plan of reorganization (a)
would be subject to compromise and/or treatment under the plan of reorganization and/or (b) would be discharged in
accordance with the terms of the plan of reorganization. Any claims not ultimately discharged through a plan of
reorganization could be asserted against the reorganized entity and may have an adverse effect on the Reorganized
Debtors’ financial condition and results of operations on a post-reorganization basis.




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XII.     SOLICITATION AND VOTING PROCEDURES

         This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for voting on the Plan, is
being distributed to the Holders of Claims in those Classes that are entitled to vote to accept or reject the Plan. The
procedures and instructions for voting and related deadlines are set forth in the exhibits annexed to the Disclosure
Statement Order, which is attached hereto as Exhibit C.

         The Disclosure Statement Order is incorporated herein by reference and should be read in conjunction
with this Disclosure Statement and in formulating a decision to vote to accept or reject the Plan.

        THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN THIS
                     DISCLOSURE STATEMENT IS ONLY A SUMMARY.
    PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED HERETO FOR A MORE
         COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND VOTING PROCESS.

        A.       Holders of Claims Entitled to Vote on the Plan

          Under the provisions of the Bankruptcy Code, not all Holders of claims and interests against a debtor are
entitled to vote on a chapter 11 plan. The table in Article IV.C of this Disclosure Statement, which begins on page 4
hereof, provides a summary of the status and voting rights of each Class (and, therefore, of each Holder within such
Class absent an objection to the Holder’s Claim or Interest) under the Plan.

         As shown in the table, the Debtors are soliciting votes to accept or reject the Plan only from Holders of
Claims in Classes 2, 3, 4, 5, 6, and 7 (the “Voting Classes”). The Holders of Claims in the Voting Classes are Impaired
under the Plan and may, in certain circumstances, receive a distribution under the Plan. Accordingly, Holders of
Claims in the Voting Classes have the right to vote to accept or reject the Plan.

         The Debtors are not soliciting votes from Holders of Claims and Interests in Classes 1, 8, 9, 10, and 11.
Additionally, the Disclosure Statement Order provides that certain Holders of Claims in the Voting Classes, such as
those Holders whose Claims have been disallowed or are subject to a pending objection, are not entitled to vote to
accept or reject the Plan.

        B.       Voting Record Date

         The Voting Record Date is February 22, 2019. The Voting Record Date is the date on which it will be
determined which Holders of Claims in the Voting Classes are entitled to vote to accept or reject the Plan and whether
Claims have been properly assigned or transferred under Bankruptcy Rule 3001(e) such that an assignee or transferee,
as applicable, can vote to accept or reject the Plan as the Holder of a Claim.

        C.       Voting on the Plan

        The Voting Deadline is March 25, 2019, at 5:00 p.m. prevailing Eastern Time; provided, however, that the
Voting Deadline with respect to an Executory Contract or Unexpired Lease that is included on a Schedule of Assumed
Executory Contracts and Unexpired Leases filed in advance of March 25, 2019, but is added to the Schedule of
Rejected Executory Contracts and Unexpired Leases after March 25, 2019, shall be April 3, 2019, the date of the
Confirmation Hearing. In order to be counted as votes to accept or reject the Plan, all ballots must be properly
executed, completed, and delivered in accordance with the instructions on your ballot so that the ballots are actually
received by the Debtors’ voting and claims agent (the “Voting and Claims Agent”) on or before the Voting Deadline:

        D.       Ballots Not Counted

          No ballot will be counted toward Confirmation if, among other things: (1) it is illegible or contains
insufficient information to permit the identification of the Holder of the Claim; (2) it was transmitted by facsimile,
email, or other electronic means not specifically approved pursuant to the Disclosure Statement Order; (3) it was cast
by an entity that is not entitled to vote on the Plan; (4) it was cast for a Claim listed in the Debtors’ schedules as

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contingent, unliquidated, or disputed for which the applicable Bar Date has passed and no proof of claim was timely
filed; (5) it was cast for a Claim that is subject to an objection pending as of the Voting Record Date (unless temporarily
allowed in accordance with the Disclosure Statement Order); (6) it was sent to the Debtors, the Debtors’
agents/representatives (other than the Voting and Claims Agent), an indenture trustee, or the Debtors’ financial or
legal advisors instead of the Voting and Claims Agent; (7) it is unsigned; or (8) it is not clearly marked to either accept
or reject the Plan or it is marked both to accept and reject the Plan. Please refer to the Disclosure Statement Order
for additional requirements with respect to voting to accept or reject the Plan.

        IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING PROCESS,
         PLEASE CONTACT THE VOTING AND CLAIMS AGENT TOLL-FREE (844) 205-7495.
            ANY BALLOT RECEIVED AFTER THE VOTING DEADLINE OR OTHERWISE
        NOT IN COMPLIANCE WITH THE SOLICITATION ORDER WILL NOT BE COUNTED.

XIII.    CONFIRMATION OF THE PLAN

          A.      Requirements for Confirmation of the Plan

         Among the requirements for Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code are:
(1) the Plan is accepted by all Impaired Classes of Claims or Interests, or if rejected by an Impaired Class, the Plan
“does not discriminate unfairly” and is “fair and equitable” as to the rejecting Impaired Class; (2) the Plan is feasible;
and (3) the Plan is in the “best interests” of Holders of Claims and Interests.

          At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan satisfies all of the
requirements of section 1129 of the Bankruptcy Code. The Debtors believe that: (1) the Plan satisfies, or will satisfy,
all of the necessary statutory requirements of chapter 11; (2) the Debtors have complied, or will have complied, with
all of the necessary requirements of chapter 11; and (3) the Plan has been proposed in good faith.

          B.      Best Interests of Creditors/Liquidation Analysis

          Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a bankruptcy
court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to each impaired class, that
each Holder of a claim or an equity interest in such impaired class either (1) has accepted the plan or (2) will receive
or retain under the plan property of a value that is not less than the amount that the non-accepting holder would receive
or retain if the debtors liquidated under chapter 7.

          Attached hereto as Exhibit F and incorporated herein by reference is a liquidation analysis (the “Liquidation
Analysis”) prepared by the Debtors with the assistance of BRG, the Debtors’ financial advisor. As reflected in the
Liquidation Analysis, the Debtors believe that liquidation of the Debtors’ businesses under chapter 7 of the Bankruptcy
Code would result in substantial diminution in the value to be realized by Holders of Claims as compared to
distributions contemplated under the Plan. Consequently, the Debtors and their management believe that
Confirmation of the Plan will provide a substantially greater return to Holders of Claims than would a liquidation
under chapter 7 of the Bankruptcy Code.

          If the Plan is not confirmed, and the Debtors fail to propose and confirm an alternative plan of reorganization,
the Debtors’ businesses may be liquidated pursuant to the provisions of a chapter 11 liquidating plan. In liquidations
under chapter 11, the Debtors’ assets could be sold in an orderly fashion over a more extended period of time than in
a liquidation under chapter 7. Thus, a chapter 11 liquidation may result in larger recoveries than a chapter 7
liquidation, but the delay in distributions could result in lower present values received and higher administrative costs.
Any distribution to Holders of Claims under a chapter 11 liquidation plan would most likely be substantially delayed.
Most importantly, the Debtors believe that any distributions to creditors in a chapter 11 liquidation scenario would
fail to capture the significant going concern value of their businesses, which is reflected in the New Shopko Interests
to be distributed under the Plan. Accordingly, the Debtors believe that a chapter 11 liquidation would not result in
distributions as favorable as those under the Plan.




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          C.       Feasibility

          Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan of reorganization is not
likely to be followed by the liquidation, or the need for further financial reorganization of the debtor, or any successor
to the debtor (unless such liquidation or reorganization is proposed in such plan of reorganization).

         To determine whether the Plan meets this feasibility requirement, the Debtors have analyzed their ability to
meet their respective obligations under the Plan. As part of this analysis, the Debtors have prepared the Financial
Projections. Based upon the Financial Projections, the Debtors believe that they will be a viable operation following
their emergence from chapter 11 and that the Plan will meet the feasibility requirements of the Bankruptcy Code. The
Financial Projections are attached hereto as Exhibit D and incorporated herein by reference.

          D.       Acceptance by Impaired Classes

          The Bankruptcy Code requires, as a condition to confirmation, except as described in the following section,
that each class of claims or equity interests impaired under a plan, accept the plan. A class that is not “impaired”
under a plan is deemed to have accepted the plan and, therefore, solicitation of acceptances with respect to such a class
                 9
is not required.

          Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired claims as
acceptance by Holders of at least two-thirds in a dollar amount and more than one-half in a number of Allowed claims
in that class, counting only those claims that have actually voted to accept or to reject the plan. Thus, a class of claims
will have voted to accept the plan only if two-thirds in amount and a majority in number actually cast their ballots in
favor of acceptance.

          E.       Confirmation Without Acceptance by All Impaired Classes

          Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even if all impaired
classes have not accepted it; provided, however, the plan has been accepted by at least one impaired class. Pursuant
to section 1129(b) of the Bankruptcy Code, notwithstanding an impaired class’s rejection or deemed rejection of the
plan, the plan will be confirmed, at the plan proponent’s request, in a procedure commonly known as a “cramdown”
so long as the plan does not “discriminate unfairly” and is “fair and equitable” with respect to each class of claims or
equity interests that is impaired under, and has not accepted, the plan.

          If any Impaired Class rejects the Plan, the Debtors reserve the right to seek to confirm the Plan utilizing the
“cramdown” provision of section 1129(b) of the Bankruptcy Code. To the extent that any Impaired Class rejects the
Plan or is deemed to have rejected the Plan, the Debtors will request Confirmation of the Plan, as it may be modified
from time to time, under section 1129(b) of the Bankruptcy Code. The Debtors reserve the right to alter, amend,
modify, revoke, or withdraw the Plan or any Plan Supplement document including the right to amend or modify the
Plan or any Plan Supplement document to satisfy the requirements of section 1129(b) of the Bankruptcy Code.

                       1.   No Unfair Discrimination

          The “unfair discrimination” test applies to classes of claims or interests that are of equal priority and are
receiving different treatment under a plan. The test does not require that the treatment be the same or equivalent, but
that treatment be “fair.” In general, bankruptcy courts consider whether a plan discriminates unfairly in its treatment
of classes of claims of equal rank (e.g., classes of the same legal character). Bankruptcy courts will take into account



9   A class of claims is “impaired” within the meaning of section 1124 of the Bankruptcy Code unless the plan (a) leaves unaltered
    the legal, equitable and contractual rights to which the claim or equity interest entitles the holder of such claim or equity
    interest or (b) cures any default, reinstates the original terms of such obligation, compensates the holder for certain damages
    or losses, as applicable, and does not otherwise alter the legal, equitable, or contractual rights to which such claim or equity
    interest entitles the holder of such claim or equity interest.


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a number of factors in determining whether a plan discriminates unfairly. A plan could treat two classes of unsecured
creditors differently without unfairly discriminating against either class.

                      2.   Fair and Equitable Test

         The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus unsecured)
and includes the general requirement that no class of claims receive more than 100 percent of the amount of the
allowed claims in the class. As to the dissenting class, the test sets different standards depending upon the type of
claims or equity interests in the class.

          The Debtors submit that if the Debtors “cramdown” the Plan pursuant to section 1129(b) of the Bankruptcy
Code, the Plan is structured so that it does not “discriminate unfairly” and satisfies the “fair and equitable”
requirement. With respect to the unfair discrimination requirement, all Classes under the Plan are provided treatment
that is substantially equivalent to the treatment that is provided to other Classes that have equal rank. The Debtors
believe that the Plan and the treatment of all Classes of Claims and Interests under the Plan satisfy the foregoing
requirements for nonconsensual Confirmation of the Plan.

          F.       Valuation of the Debtors

        In conjunction with formulating the Plan and satisfying its obligations under section 1129 of the Bankruptcy
Code, the Debtors determined that it was necessary to estimate the post-Confirmation going concern value of the
Debtors. The Valuation Analysis is set forth in Exhibit E attached hereto and incorporated herein by reference.

XIV.     CERTAIN SECURITIES LAW MATTERS

          The issuance of, and the distribution under, the Plan of the New Shopko Interests will be exempt from
registration under the Securities Act and any other applicable securities laws pursuant to section 1145 of the
Bankruptcy Code.

          A.       Section 1145 of the Bankruptcy Code Exemption and Subsequent Transfers

          Section 1145(a)(1) of the Bankruptcy Code exempts the offer or sale of securities under a plan of
reorganization from registration under Section 5 of the Securities Act and state laws if three principal requirements
are satisfied: (a) the securities must be issued “under a plan” of reorganization by the debtor or its successor under a
plan or by an affiliate participating in a joint plan of reorganization with the debtor; (b) the recipients of the securities
must hold a claim against, an interest in, or a claim for administrative expenses in the case concerning the debtor or
such affiliate; and (c) the securities must be issued in exchange for the recipient’s claim against or interest in the
debtor, or such affiliate, or “principally” in such exchange and “partly” for cash or property. In reliance upon this
exemption, the Debtors believe that the offer and sale, under the Plan, of the New Shopko Interests will be exempt
from registration under the Securities Act and state securities laws with respect to any Holder of Allowed Claims who
is not deemed to be an “underwriter” as defined in Section 1145(b) of the Bankruptcy Code.

          In addition, the Debtors will seek to obtain, as part of the Confirmation Order, a provision confirming such
exemption. Accordingly, subject to compliance with the New Organizational Documents and the New Stockholders’
Agreement, such securities generally may be resold: (a) without registration under the Securities Act or other federal
securities laws pursuant to an exemption provided by Section 4(a)(1) of the Securities Act, unless the Holder is an
“underwriter” (see discussion below) with respect to such securities, as that term is defined under the Bankruptcy
Code; and (b) without registration under state securities or Blue Sky laws pursuant to various exemptions provided by
the respective laws of the several states. However, recipients of securities issued under the Plan are advised to consult
with their own legal advisors as to the availability of any such exemption from registration under state law in any
given instance and as to any applicable requirement or conditions to such availability.

          Section 1145(b) of the Bankruptcy Code defines “underwriter” as one who, except with respect to ordinary
trading transactions, (a) purchases a claim with a view to distribution of any security to be received in exchange for
the claim, (b) offers to sell securities issued under a plan for the holders of such securities, (c) offers to buy securities


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issued under a plan from persons receiving such securities, if the offer to buy is made with a view to distribution or
(d) is an issuer, as used in Section 2(a)(11) of the Securities Act, with respect to such securities, which includes control
persons of the issuer.

          “Control,” as defined in Rule 405 of the Securities Act, means the possession, directly or indirectly, of the
power to direct or cause the direction of the management and policies of a Person, whether through the ownership of
voting securities, by contract, or otherwise. The legislative history of Section 1145 of the Bankruptcy Code suggests
that a creditor who owns ten percent (10%) or more of a class of voting securities of a reorganized debtor may be
presumed to be a “controlling person” and, therefore, an underwriter.

          To the extent that persons deemed to be “underwriters” receive New Shopko Interests pursuant to the Plan,
resales by such persons would not be exempted by Section 1145 of the Bankruptcy Code from registration under the
Securities Act or other applicable law. Such persons would not be permitted to resell such Plan Securities, unless such
securities were registered under the Securities Act or an exemption from such registration requirements were available.
Entities deemed to be statutory underwriters for purposes of Section 1145 of the Bankruptcy Code may, however, be
able, at a future time and under certain conditions, to sell securities without registration pursuant to the resale
provisions of Rule 144 under the Securities Act or another available exemption under the Securities Act.

        The issuer of the New Shopko Interests will not be required to file periodic reports under the Securities
Exchange Act or seek to list the New Shopko Interests for trading on a national securities exchange. Consequently,
there may not be “current public information” (as such term is defined in Rule 144) regarding the issuer of the New
Shopko Interests.

          Whether or not any particular person would be deemed to be an “underwriter” with respect to the New Shopko
Interests to be issued pursuant to the Plan, or an “affiliate” of the issuer of the New Shopko Interests would depend
upon various facts and circumstances applicable to that person. Accordingly, we express no view as to whether any
such person would be such an “underwriter” or “affiliate.”

     PERSONS WHO RECEIVE NEW SHOPKO INTERESTS UNDER THE PLAN ARE
URGED TO CONSULT THEIR OWN LEGAL ADVISOR WITH RESPECT TO THE
RESTRICTIONS APPLICABLE UNDER THE SECURITIES LAWS AND THE
CIRCUMSTANCES UNDER WHICH SECURITIES MAY BE SOLD IN RELIANCE ON
SUCH LAWS. THE FOREGOING SUMMARY DISCUSSION IS GENERAL IN NATURE
AND HAS BEEN INCLUDED IN THIS DISCLOSURE STATEMENT SOLELY FOR
INFORMATIONAL PURPOSES. WE MAKE NO REPRESENTATIONS CONCERNING,
AND DO NOT PROVIDE, ANY OPINIONS OR ADVICE WITH RESPECT TO THE NEW
SHOPKO INTERESTS OR THE BANKRUPTCY MATTERS DESCRIBED IN THIS
DISCLOSURE STATEMENT. IN LIGHT OF THE UNCERTAINTY CONCERNING THE
AVAILABILITY OF EXEMPTIONS FROM THE RELEVANT PROVISIONS OF FEDERAL
AND STATE SECURITIES LAWS, WE ENCOURAGE EACH PARTY-IN INTEREST TO
CONSIDER CAREFULLY AND CONSULT WITH ITS OWN LEGAL ADVISORS WITH
RESPECT TO ALL SUCH MATTERS. BECAUSE OF THE COMPLEX, SUBJECTIVE
NATURE OF THE QUESTION OF WHETHER A PARTICULAR HOLDER MAY BE AN
UNDERWRITER, WE MAKE NO REPRESENTATION CONCERNING THE ABILITY OF A
PERSON TO DISPOSE OF THE NEW SHOPKO INTERESTS

XV.      CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

          A.       Introduction

       The following discussion summarizes certain United States (“U.S.”) federal income tax consequences of the
implementation of the Plan to the Debtors, the Reorganized Debtors, and certain Holders (which, solely for purposes


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of this discussion, means the beneficial owners for U.S. federal income tax purposes) of Claims and New Shopko
Interests. This summary is based on the Tax Code, the U.S. Treasury Regulations promulgated thereunder (the
“Treasury Regulations”), judicial decisions and published administrative rules, and pronouncements of the Internal
Revenue Service (the “IRS”), all as in effect on the date hereof (collectively, “Applicable Tax Law”). Changes in the
rules or new interpretations of the rules may have retroactive effect and could significantly affect the U.S. federal
income tax consequences described below. Due to the lack of definitive judicial and administrative authority in a
number of areas, substantial uncertainty may exist with respect to some of the tax consequences described below. The
Debtors have not requested, and do not intend to request, any ruling or determination from the IRS or any other taxing
authority with respect to the tax consequences discussed herein, and the discussion below is not binding upon the IRS
or the courts. No assurance can be given that the IRS would not assert, or that a court would not sustain, a different
position than any position discussed herein.

           This summary does not address foreign, state, local, gift, or estate tax consequences of the Plan, nor does it
purport to address all aspects of U.S. federal income taxation that may be relevant to a holder in light of its individual
circumstances or to a holder that may be subject to special tax rules (such as Persons who are related to the Debtors
within the meaning of the Tax Code, broker-dealers, banks, mutual funds, insurance companies, financial institutions,
small business investment companies, regulated investment companies, tax exempt organizations, pass-through
entities, beneficial owners of pass-through entities, trusts, governmental authorities or agencies, dealers and traders in
securities, subchapter S corporations, persons who hold Claims or who will hold the New Shopko Interests as part of
a straddle, hedge, conversion transaction, or other integrated investment, persons using a mark-to-market method of
accounting, and holders of Claims who are themselves in bankruptcy). Furthermore, this summary assumes that a
holder of a Claim holds only Claims in a single Class and holds a Claim only as a “capital asset” (within the meaning
of section 1221 of the Tax Code). This summary also assumes that the various debt and other arrangements to which
any of the Debtors are a party will be respected for U.S. federal income tax purposes in accordance with their form,
and that the Claims constitute interests in the Debtors “solely as a creditor” for purposes of section 897 of the Tax
Code. This summary does not discuss differences in tax consequences to holders of Claims that act or receive
consideration in a capacity other than any other holder of a Claim of the same Class or Classes, and the tax
consequences for such holders may differ materially from that described below. This summary does not address the
U.S. federal income tax consequences to holders (i) whose Claims are Unimpaired or otherwise entitled to payment
in full in Cash under the Plan or (ii) that are deemed to reject the Plan.

          For purposes of this discussion, a “U.S. Holder” is a holder of a Claim that is: (1) an individual citizen or
resident of the United States for U.S. federal income tax purposes; (2) a corporation (or other entity treated as a
corporation for U.S. federal income tax purposes) created or organized under the laws of the United States, any state
thereof or the District of Columbia; (3) an estate the income of which is subject to U.S. federal income taxation
regardless of the source of such income; or (4) a trust (A) if a court within the United States is able to exercise primary
jurisdiction over the trust’s administration and one or more United States persons have authority to control all
substantial decisions of the trust or (B) that has a valid election in effect under applicable Treasury Regulations to be
treated as a United States person. For purposes of this discussion, a “non-U.S. Holder” is any holder of a Claim that
is not a U.S. Holder other than any partnership (or other entity treated as a partnership or other pass-through entity for
U.S. federal income tax purposes).

         If a partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal income
tax purposes) is a holder of a Claim, the tax treatment of a partner (or other beneficial owner) generally will depend
upon the status of the partner (or other beneficial owner) and the activities of the partner (or other beneficial owner)
and the entity. Partners (or other beneficial owners) of partnerships (or other pass-through entities) that are Holders
of Claims should consult their respective tax advisors regarding the U.S. federal income tax consequences of the Plan.

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX
CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR
CAREFUL TAX PLANNING AND ADVICE BASED UPON THE INDIVIDUAL CIRCUMSTANCES
PERTAINING TO A HOLDER OF A CLAIM OR INTEREST. ALL HOLDERS OF CLAIMS OR
INTERESTS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS AS TO THE FEDERAL, STATE,
LOCAL, AND NON-U.S. INCOME, ESTATE, AND OTHER TAX CONSEQUENCES OF THE PLAN.



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          B.       Certain U.S. Federal Income Tax Consequences to the Debtors and the Reorganized Debtors

         The tax consequences of the implementation of the Plan to the Debtors will differ depending on whether the
Restructuring Transactions include a taxable sale of the Debtors’ assets and/or stock.

          If the transaction undertaken pursuant to the Plan is structured as a taxable sale of the assets and/or stock of
any Debtor (a “Taxable Transaction”), such Debtor would recognize gain or loss upon the transfer in an amount equal
to the difference between the fair market value of the assets sold and the Debtor’s tax basis in such assets. The Debtors
have not yet determined whether or not they intend to structure the Restructuring Transactions as a Taxable
Transaction, whether in whole or in part. Such decision will depend on, among other things, whether assets being
sold pursuant to a Taxable Transaction have a fair market value in excess of tax basis (i.e., a “built-in gain”) or a fair
market value less than tax basis (i.e., a “built-in loss”), in the case of assets with built-in gains, whether sufficient tax
attributes are available to offset any such built-in gains, and how the fair market value of such assets compares to the
expected tax bases of such assets after their tax basis is reduced for COD Income.

         If a Reorganized Debtor purchases assets or stock of any Debtor pursuant to a Taxable Transaction, the
Reorganized Debtor will take a fair market value basis in the transferred assets or stock. However, if a Taxable
Transaction involves a purchase of stock, the Debtor whose stock is transferred will retain its basis in its assets, subject
to reduction due to COD Income, as described below.

          For the period ending January 31, 2018, the Debtors had approximately $241.2 million of federal NOLs. The
Debtors are currently generating additional tax losses, which will ultimately increase the Debtors’ NOLs and other tax
attributes, and are also currently generating additional taxable income and gains from the sale of pharmacy assets,
which will ultimately decrease the Debtors’ NOLs and other tax attributes. Any NOLs remaining upon
implementation of the Plan may be able to offset future taxable income for up to 20 years in the case of NOLs arising
in tax years beginning before January 1, 2018 and indefinitely for NOLs arising in taxable years starting in 2018
(including the Debtors’ tax year starting January 31, 2018), thereby reducing the Debtors’ future aggregate tax
obligations. Subject to the limitations discussed below, NOLs arising before 2018 may offset 100% of future taxable
income and NOLs arising in taxable years starting with 2018 may be used to offset 80% of taxable income in a given
year.

                      1.   Cancellation of Debt and Reduction of Tax Attributes

          In general, absent an exception, a debtor will realize and recognize cancellation of debt income (“COD
Income”) upon satisfaction of its outstanding indebtedness for total consideration less than the amount of such
indebtedness. The amount of COD Income, in general, is the excess of (a) the adjusted issue price of the indebtedness
satisfied, over (b) the sum of (i) the amount of Cash paid, (ii) the issue price of any new indebtedness of the taxpayer
issued, and (iii) the fair market value of any other new consideration (including stock of the debtor), in each case,
given in satisfaction of such satisfied indebtedness at the time of the exchange.

         Under section 108 of the Tax Code, a debtor is not, however, required to include any amount of COD Income
in gross income if the debtor is under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy Code
and the discharge of debt occurs pursuant to that proceeding. Instead, as a consequence of such exclusion, a debtor
must reduce its tax attributes by the amount of COD Income that it excluded from gross income pursuant to section
108 of the Tax Code. Such reduction in tax attributes occurs only after the tax for the year of the debt discharge has
been determined (including, as described above, the amount of gain or loss recognized by the debtor with respect to
the sale of all or a portion of their assets in a taxable transaction). In general, tax attributes will be reduced in the
following order: (a) NOLs and NOL carryforwards; (b) general business credit carryovers; (c) minimum tax credit
carryovers; (d) capital loss carryovers; (e) tax basis in assets (but not below the amount of liabilities to which the
debtor remains subject); (f) passive activity loss and credit carryovers; and (g) foreign tax credit carryovers.
Alternatively, a debtor with COD Income may elect first to reduce the basis of its depreciable assets pursuant to
section 108(b)(5) of the Tax Code. Any excess COD Income over the amount of available tax attributes will generally
not give rise to U.S. federal income tax and will generally have no other U.S. federal income tax impact.

          In connection with the Restructuring Transactions, the Debtors expect to realize significant COD Income.
The amount of the tax attributes required to be reduced will depend on whether the transactions undertaken pursuant
to the Plan are structured as a Taxable Transaction. The exact amount of any COD Income that will be realized by

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the Debtors, and accordingly, the amount of tax attributes required to be reduced (if any), will depend in part on the
fair market value of the New Shopko Interests and may depend on the “issue price” of the loans under the Exit Facility
(as described below) and will not be determinable until the consummation of the Plan. Regardless of the implemented
structure, the Debtors expect, however, that the amount of such COD Income will be sufficient to eliminate all of their
NOLs and tax credits allocable to periods prior to the Effective Date pursuant to section 108 of the Tax Code. In
addition, depending on the structure of the transactions undertaken pursuant to the Plan, some of the Debtors’ tax basis
in their assets may be reduced by COD Income that is not absorbed by the NOLs and tax credits.

         As discussed above, the Debtors’ NOLs will likely be materially reduced or eliminated after computing the
Debtors’ taxes for the year in which the Plan is implemented. To the extent that any remain, they will be subject to
limitation as described below, subject to the exceptions described below.

                      2.   Limitation of NOL Carryforwards and Other Tax Attributes

         After giving effect to the reduction in tax attributes pursuant to excluded COD Income described above, to
the extent the Reorganized Debtors succeed to the Debtors’ tax attributes (i.e., if the Restructuring Transactions are
not structured as a Taxable Transaction pursuant to which the Debtors’ assets, and not stock of corporate entities, are
being transferred to the Reorganized Debtors for U.S. federal income tax purposes), the Reorganized Debtors’ ability
to use any remaining tax attributes post-emergence will be subject to certain limitations under sections 382 and 383
of the Code.

         Under sections 382 and 383 of the Tax Code, if a corporation undergoes an “ownership change,” the amount
of any remaining NOLs, tax credit carryforwards, net unrealized built-in losses, and possibly certain other attributes
of the Reorganized Debtors allocable to periods prior to the Effective Date (collectively, “Pre-Change Losses”) that
may be utilized to offset future taxable income generally are subject to an annual limitation.

          For this purpose, if a corporation (or consolidated group) has a net unrealized built-in loss at the time of an
ownership change (taking into account most assets and items of “built-in” income and deductions), then generally
built-in losses (including amortization or depreciation deductions attributable to such built-in losses) recognized
during the following five years (up to the amount of the original net unrealized built-in loss) will be treated as Pre-
Change Losses and similarly will be subject to the annual limitation. In general, a corporation’s (or consolidated
group’s) net unrealized built-in loss will be deemed to be zero unless it is greater than the lesser of (a) $10,000,000,
or (b) 15 percent of the fair market value of its assets (with certain adjustments) before the ownership change. The
rules of section 382 of the Tax Code are complicated, but as a general matter, the Debtors anticipate that the issuance
of New Shopko pursuant to the Plan will result in an “ownership change” of the Debtors for these purposes, and that
the Reorganized Debtors’ use of their Pre-Change Losses will be subject to limitation unless an exception to the
general rules of section 382 of the Tax Code applies.

                            (a)      General Section 382 Annual Limitation

         In general, the amount of the annual limitation to which a corporation that undergoes an “ownership change”
would be subject is equal to the product of (a) the fair market value of the stock of the corporation immediately before
the “ownership change” (with certain adjustments) multiplied by (b) the “long-term tax-exempt rate” (which is the
highest of the adjusted federal long-term rates in effect for any month in the 3-calendar-month period ending with the
calendar month in which the “ownership change” occurs: 2.51 percent for January 2019). The section 382 Limitation
may be increased to the extent that the Debtors recognize certain built-in gains in their assets during the five-year
period following the ownership change, or are treated as recognizing built-in gains pursuant to the safe harbors
provided in IRS Notice 2003-65. Section 383 of the Tax Code applies a similar limitation to capital loss carryforwards
and tax credits. Any unused limitation may be carried forward, thereby increasing the annual limitation in the
subsequent taxable year. As discussed below, however, special rules may apply in the case of a corporation that
experiences an ownership change as the result of a bankruptcy proceeding.

                            (b)      Special Bankruptcy Exceptions

         An exception to the foregoing annual limitation rules generally applies when so-called “qualified creditors”
of a debtor corporation in chapter 11 receive, in respect of their Claims, at least 50 percent of the vote and value of
the stock of the reorganized debtor (or a controlling corporation if also in chapter 11) pursuant to a confirmed

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chapter 11 plan (the “382(l)(5) Exception”). Under the 382(l)(5) Exception, a debtor’s Pre-Change Losses are not
limited on an annual basis, but, instead, NOL carryforwards will be reduced by the amount of any interest deductions
claimed during the three taxable years preceding the effective date of the plan of reorganization, and during the part
of the taxable year prior to and including the effective date of the plan of reorganization, in respect of all debt converted
into stock in the reorganization. If the 382(l)(5) Exception applies and the Reorganized Debtors undergo another
“ownership change” within two years after the Effective Date, then the Reorganized Debtors’ Pre-Change Losses
thereafter would be effectively eliminated in their entirety.

          Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either because the debtor
does not qualify for it or the debtor otherwise elects not to utilize the 382(l)(5) Exception), a second special rule will
generally apply (the “382(l)(6) Exception”). Under the 382(l)(6) Exception, the annual limitation will be calculated
by reference to the lesser of the value of the debtor corporation’s new stock (with certain adjustments) immediately
after the ownership change or the value of such debtor corporation’s assets (determined without regard to liabilities)
immediately before the ownership change. This differs from the ordinary rule that requires the fair market value of a
debtor corporation that undergoes an “ownership change” to be determined before the events giving rise to the change.
The 382(l)(6) Exception also differs from the 382(l)(5) Exception in that under it the debtor corporation is not required
to reduce its NOL carryforwards by the amount of interest deductions claimed within the prior three-year period, and
the debtor may undergo a change of ownership within two years without automatically triggering the elimination of
its Pre-Change Losses. The resulting limitation would be determined under the regular rules for ownership changes.

         As discussed above, the Debtors expect that all of the Debtors’ NOLs allocable to periods prior to the
Effective Date will be eliminated and hence will not be subject to the section 382 limitation following the year in
which the Effective Date occurs. The availability to the Debtors of either the 382(l)(5) Exception or the 382(l)(6)
Exception will depend on the structure of the transactions undertaken pursuant to the Plan.

                      3.   Excess Loss Accounts

          Generally, when corporations are members of an affiliated group filing a consolidated return, a parent
corporation’s basis in the stock of a subsidiary in such a group is (a) increased by the sum of (i) income of such
subsidiary and (ii) contributions to such subsidiary, and (b) reduced by the sum of (i) losses or deductions of such
subsidiary that are used by the affiliated group and (ii) distributions from such subsidiary. In the case that the amount
described in clause (b) above exceeds the amount described in clause (a) above, and such excess is greater than the
parent corporation’s basis in the subsidiary stock before the adjustments specified in clauses (a)-(b) are made, the
amount by which such excess is greater than the parent corporation’s basis in the subsidiary stock is called an “excess
loss account” and is treated as negative basis for U.S. federal income tax purposes. The affiliated group must recognize
income equal to the excess loss account in the subsidiary’s stock in certain events, including (x) to the extent the
subsidiary recognizes COD Income that is excluded from gross income pursuant to section 108 of the Code (as
discussed above), and the affiliated group does not reduce its tax attributes by such excluded COD Income, and (y) if
the stock of the subsidiary is treated as disposed of for no consideration. It is possible that a Debtor will exclude COD
Income in excess of available tax attributes and that there could be an excess loss account in the stock of that Debtor.
In that case, the Debtors will recognize taxable income in the amount of such excess COD Income, but not to exceed
the amount of the excess loss account.

          C.       Certain U.S. Federal Income Tax Consequences to Certain U.S. Holders of Allowed Claims
                    Entitled to Vote

        The following discussion assumes that the Debtors will undertake the Restructuring Transactions currently
contemplated by the Plan. Holders of Claims and Interests are urged to consult their tax advisors regarding the tax
consequences of the Restructuring Transactions.

                      1.   U.S. Federal Income Tax Consequences to Holders of Allowed Class 3, Class 4, and
                           Class 5 Claims

         Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release and discharge of the
Allowed Class 3, Class 4, and Class 5 Claims, each Holder thereof will receive either Cash or its Pro Rata share of the
Exit Facility.


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          The U.S. federal income tax consequences of the Plan to U.S. Holders of Allowed Class 3, Class 4, and Class
5 Claims who receive their Pro Rata share of the Exit Facility will depend, in part, on whether the transactions
undertaken pursuant to the Plan constitute a Taxable Transaction or a transaction that qualifies in whole or in part as
an exchange of stock or securities in a tax-free reorganization under the reorganization provisions of the Tax Code (a
“Reorganization”). The determination of whether the transactions undertaken pursuant to the Plan constitute a
Reorganization will depend on whether the Claims surrendered and the loans under the Exit Facility both constitute
“securities” for U.S. federal income tax purposes.

                                 a.       Treatment of a Debt Instrument as a “Security”

          Whether a debt instrument constitutes a “security” for U.S. federal income tax purposes is determined based
on all the relevant facts and circumstances, but most authorities have held that the length of the term of a debt
instrument at initial issuance is an important factor in determining whether such instrument is a security for U.S.
federal income tax purposes. These authorities have indicated that a term of less than five years is evidence that the
instrument is not a security, whereas a term of ten years or more is evidence that it is a security. The Allowed
Revolving Loan A Claims (i.e., the Allowed Class 3 Claims), Revolving Loan A-1 Claims (i.e., the Allowed Class 4
Claims), and Term Loan B Claims (i.e., the Allowed Class 5 Claims) each had a term to maturity of approximately
five years when issued. The terms of the loans under the Exit Facility, including the term to maturity thereof, have
not yet been finalized. There are numerous other factors that could be taken into account in determining whether a
debt instrument is a security, including the security for payment, the creditworthiness of the obligor, the subordination
or lack thereof with respect to other creditors, the right to vote or otherwise participate in the management of the
obligor, convertibility of the instrument into an equity interest of the obligor, whether payments of interest are fixed,
variable, or contingent, and whether such payments are made on a current basis or accrued. Due to the inherently
factual nature of the determination, U.S. Holders are urged to consult their tax advisors regarding the status of the
Allowed Revolving Loan A Claims, Revolving Loan A-1 Claims, and Term Loan B Claims and the loans under the
Exit Facility as “securities” for U.S. federal income tax purposes.

                                 a.       Taxable Transaction

         To the extent that the transactions undertaken pursuant to the Plan constitute a Taxable Transaction (including
where the debt instrument underlying the Allowed Claim and/or the loan under the Exit Facility is not a security for
U.S. federal income tax purposes), a U.S. Holder of an Allowed Class 3, Class 4, or Class 5 Claim would be treated
as exchanging its Claims for its Pro Rata Share of the Exit Facility or Cash in a fully taxable exchange under section
1001 of the Tax Code.

           A U.S. Holder of an Allowed Class 3, Class 4, or Class 5 Claim who is subject to this treatment should
recognize gain or loss equal to the difference between (a) the sum of the Cash received, if any, plus the “issue price”
of the loans under the Exit Facility received, if any (in each case to the extent such consideration is not allocable to
accrued but untaxed interest on the obligations underlying such Claim), and (b) the U.S. Holder’s adjusted tax basis,
if any, in the obligation constituting such Claim. The character of such gain or loss as capital gain or loss or as ordinary
income or loss will be determined by a number of factors, including the tax status of the U.S. Holder, the nature of the
Claim in such U.S. Holder’s hands, whether the Claim was purchased at a discount, and whether and to what extent
the U.S. Holder previously has claimed a bad debt deduction with respect to its Claim. If recognized gain is capital
gain, it generally would be long-term capital gain if the U.S. Holder held its Claim for more than one year at the time
of the exchange. The deductibility of capital losses is subject to certain limitations as discussed below. To the extent
that a portion of the consideration received in exchange for its Allowed Class 3, Class 4, or Class 5 Claim is allocable
to accrued but untaxed interest, the U.S. Holder may recognize ordinary income. See “Accrued Interest” and “Market
Discount” below. A U.S. Holder’s tax basis in the loans under the Exit Facility should be equal to the issue price of
such loan as of the date such loan is issued to the U.S. Holder. The determination of the “issue price” of the loans
under the Exit Facility for purposes of this analysis will depend, in part, on whether the loans under either the Allowed
Class 3, Class 4 or Class 5 Claims or the loans under the Exit Facility are traded on an “established securities market”
for U.S. federal income tax purposes. The issue price of a debt instrument that is traded on an established market is
the fair market value of such debt instrument. The issue price of a debt instrument that is not so traded is its stated
principal amount (provided that the interest rate on the debt instrument exceeds the applicable federal rate published
by the IRS). Although not free from doubt, the Debtors believe that either loans underlying the Exit Facility or the
debt instruments underlying the Class 3, Class 4, and Class 5 Claims that are tendered for loans under the Exit Facility

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may be treated as traded on an established securities market for U.S. federal income tax purposes, in which case the
issue price of the loans under the Exit Facility would be equal to its fair market value, but no assurances can be given
in this regard. The rules regarding the determination of issue price are complex and highly detailed and you should
consult your tax advisor regarding the determination of the issue price of the loans under the Exit Facility. A U.S.
Holder’s holding period for loans received under the Exit Facility should begin on the day following the Effective
Date.

                      2. Reorganization

         If a U.S. Holder receives loans under the Exit Facility in exchange for its Claim, and both the loans under the
Exit Facility and the debt instruments underlying such Claim are “securities” for U.S. federal income tax purposes,
the exchange of a U.S. Holder’s Allowed Class, 3, Class 4 or Class 5 Claim should be treated as a Reorganization
under the Tax Code. If the exchange is treated as a Reorganization, a U.S. Holder should not recognize loss with
respect to the exchange and should not recognize gain (subject to the discussion of accrued interest below). To the
extent that a portion of the loans under the Exit Facility is allocable to accrued but untaxed interest, however, the U.S.
Holder may recognize ordinary income (as discussed in greater detail in “Accrued Interest” below). A U.S. Holder
who is subject to this treatment will take an aggregate tax basis in its interest in the loans under the Exit Facility
received (apart from amounts allocable to accrued but untaxed interest) equal to the U.S. Holder’s tax basis in the
surrendered Allowed Claim. A U.S. Holder’s holding period for its interest in the loans under the Exit Facility
received (except to the extent attributable to accrued but untaxed interest) should generally include the holding period
for the obligation underlying the surrendered Allowed Claim exchanged for such loans.

      HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING THE
RECOGNITION OF GAIN OR LOSS, FOR FEDERAL INCOME TAX PURPOSES, ON THE
SATISFACTION OF THEIR CLAIMS.

                      3. U.S. Federal Income Tax Consequences to Holders of Allowed Class 6 and
                         Class 7 Claims

        Pursuant to the Plan, in exchange for full and final satisfaction, settlement, release and discharge of the
Allowed Class 6 and Class 7 Claims, each Holder thereof will receive either Cash or its Pro Rata share of a portion of
the New Shopko Interests.

          The receipt of Cash by a U.S. Holder of an Allowed Class 6 or Class 7 Claim should be treated as a taxable
exchange under section 1001 of the Code. The U.S. Holder should recognize capital gain or loss equal to the difference
between (1) the Cash received (to the extent such Cash is not allocable to accrued but untaxed interest that is received
in exchange for the Claim) and (2) the U.S. Holder’s adjusted tax basis in the obligation constituting its Claim. The
character of such gain or loss as capital gain or loss or as ordinary income or loss will be determined by a number of
factors, including the tax status of the U.S. Holder, the nature of the Claim in such U.S. Holder’s hands, whether the
Claim constitutes a capital asset in the hands of the U.S. Holder, whether the Claim was purchased at a discount, and
whether and to what extent the U.S. Holder has previously claimed a bad debt deduction with respect to its Claim. If
recognized gain is capital gain, it generally would be long-term capital gain if the holder held its Claim for more than
one year at the time of the exchange. The deductibility of capital losses is subject to certain limitations as discussed
below. See the discussions of accrued interest and market discount below.

         The receipt of New Shopko Interests by a U.S. Holder of an Allowed Class 6 or Class 7 Claim depends on
whether the Allowed Class 6 or Class 7 Claim constitutes a “security” for U.S. federal income tax purposes. See the
discussion of whether a debt instrument constitutes a “security” for U.S. federal income tax purposes above. The
Allowed Term Loan B-1 Claims (i.e., the Allowed Class 6 Claims) had a term to maturity of approximately two years
when issued. Due to the inherently factual nature of the determination, U.S. Holders are urged to consult their tax
advisors regarding the status of the Allowed Term Loan B-1 Claims as “securities” for U.S. federal income tax
purposes and whether any Allowed Class 7 Claims may constitute a “security” for U.S. federal income tax purposes.

         If the debt underlying the Allowed Class 6 or Class 7 Claim is treated as a “security” for U.S. federal income
tax purposes, the exchange of the Allowed Class 6 or Class 7 Claim for New Shopko Interests should constitute a
“recapitalization” for U.S. federal income tax purposes. The U.S. federal income tax consequences to such U.S.


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Holder will be substantially similar to the consequences described above in Section C.1(c) of this Article XVI
(substituting “New Shopko Interests” for “loans under the Exit Facility”) that a U.S. Holder of Allowed Class 3, Class
4 or Class 5 Claims would experience if the debt underlying the Claims and the consideration received in exchange
therefore are both treated as “securities” for U.S. federal income tax purposes.

          If the New Shopko Interests and the debt or obligations underlying the Allowed Class 6 or Class 7 Claim are
not both treated as “securities” for U.S. federal income tax purposes, the exchange of the Allowed Class 6 or Class 7
Claim for New Shopko Interests should be treated by such U.S. Holder as a fully taxable exchange under section 1001
of the IRC. Accordingly, each U.S. Holder of such Claim should recognize gain or loss equal to the difference between
(1) the fair market value of the New Shopko Interests and (2) such U.S. Holder’s adjusted tax basis, if any, in the
obligation constituting such Claim. The character of such gain or loss as capital gain or loss or as ordinary income or
loss will be determined by a number of factors, including the tax status of the U.S. Holder, the nature of the Claim in
such U.S. Holder’s hands, whether the Claim constitutes a capital asset in the hands of the U.S. Holder, whether the
Claim was purchased at a discount, and whether and to what extent the U.S. Holder has previously claimed a bad debt
deduction with respect to its Claim. If recognized gain is capital gain, it generally would be long-term capital gain if
the holder held its Claim for more than one year at the time of the exchange. The deductibility of capital losses is
subject to certain limitations as discussed below. See the discussions of accrued interest and market discount below.
A U.S. Holder’s tax basis in any New Shopko Interests received should equal the fair market value of such stock or
issue price of such loan as of the date such stock is distributed to the U.S. Holder. A U.S. Holder’s holding period for
the New Shopko Interests received should begin on the day following the Effective Date.

      HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING THE
RECOGNITION OF GAIN OR LOSS, FOR FEDERAL INCOME TAX PURPOSES, ON THE
SATISFACTION OF THEIR CLAIMS.

                       4.   Accrued Interest

         To the extent that any amount received by a U.S. Holder of a surrendered Claim is attributable to accrued but
unpaid interest on the debt instruments constituting the surrendered Claim, the receipt of such amount should be
taxable to the U.S. Holder as ordinary interest income (to the extent not already taken into income by the U.S. Holder).
Conversely, a U.S. Holder of a Claim may be able to recognize a deductible loss (or, possibly, a write off against a
reserve for worthless debts) to the extent that any accrued interest previously was included in the U.S. Holder’s gross
income but was not paid in full by the Debtors. Such loss may be ordinary, but the tax law is unclear on this point.

         If the fair value of the consideration is not sufficient to fully satisfy all principal and interest on an Allowed
Claim, the extent to which such consideration will be attributable to accrued interest is unclear. Under the Plan, the
aggregate consideration to be distributed to U.S. Holders of Allowed Claims in each Class will be allocated first to
the principal amount of such Allowed Claims, with any excess allocated to unpaid interest that accrued on these
Claims, if any. Certain legislative history indicates that an allocation of consideration as between principal and interest
provided in a chapter 11 plan of reorganization is binding for U.S. federal income tax purposes, while certain Treasury
Regulations treat payments as allocated first to any accrued but unpaid interest. The IRS could take the position that
the consideration received by the U.S. Holder should be allocated in some way other than as provided in the Plan.

     HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING THE
ALLOCATION OF CONSIDERATION RECEIVED IN SATISFACTION OF THEIR CLAIMS AND THE
FEDERAL INCOME TAX TREATMENT OF ACCRUED BUT UNPAID INTEREST.

                       5.   Medicare Tax

         Certain U.S. Holders that are individual, estates, or trusts are required to pay an additional 3.8% tax on,
among other things, dividends and gains from the sale or other disposition of capital assets. U.S. Holders that are
individuals, estates, or trusts should consult their tax advisors regarding the effect, if any, of this tax provision on their
ownership and disposition of any consideration to be received under the Plan.

                       6.   Market Discount

         Under the “market discount” provisions of the Tax Code, some or all of any gain realized by a U.S. Holder

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of a Claim who exchanges the Claim for an amount on the Effective Date may be treated as ordinary income (instead
of capital gain), to the extent of the amount of “market discount” on the debt instruments constituting the exchanged
Claim. In general, a debt instrument is considered to have been acquired with “market discount” if it is acquired other
than on original issue and if its U.S. Holder’s adjusted tax basis in the debt instrument is less than (a) the sum of all
remaining payments to be made on the debt instrument, excluding “qualified stated interest” or (b) in the case of a
debt instrument issued with original issue discount, its adjusted issue price, by at least a de minimis amount (equal to
0.25 percent of the sum of all remaining payments to be made on the debt instrument, excluding qualified stated
interest, multiplied by the number of remaining whole years to maturity).

          Any gain recognized by a U.S. Holder on the taxable disposition of a Claim that had been acquired with
market discount should be treated as ordinary income to the extent of the market discount that accrued thereon while
the Claim was considered to be held by the U.S. Holder (unless the U.S. Holder elected to include market discount in
income as it accrued). To the extent that the Allowed Claims that were acquired with market discount are exchanged
in a tax-free transaction for other property, any market discount that accrued on the Allowed Claims (i.e., up to the
time of the exchange) but was not recognized by the U.S. Holder is carried over to the property received therefor and
any gain recognized on the subsequent sale, exchange, redemption, or other disposition of the property is treated as
ordinary income to the extent of the accrued, but not recognized, market discount with respect to the exchanged debt
instrument.

      HOLDERS SHOULD CONSULT THEIR OWN TAX ADVISORS CONCERNING THE
APPLICATION OF THE MARKET DISCOUNT RULES TO THEIR CLAIMS.

                       7. Dividends on New Shopko Interests

          Any distributions made on account of New Shopko Interests will constitute dividends for U.S. federal income
tax purposes to the extent of the current or accumulated earnings and profits of the Reorganized Debtors as determined
under U.S. federal income tax principles. To the extent that a U.S. Holder receives distributions that would otherwise
constitute dividends for U.S. federal income tax purposes but that exceed such current and accumulated earnings and
profits, such distributions will be treated first as a non-taxable return of capital reducing the U.S. Holder’s basis in its
shares. Any such distributions in excess of the U.S. Holder’s basis in its shares (determined on a share-by-share basis)
generally will be treated as capital gain.

          Subject to applicable limitations, dividends paid to U.S. Holders that are corporations generally will be
eligible for the dividends-received deduction. However, the dividends-received deduction is only available if certain
holding period requirements are satisfied. The length of time that a shareholder has held its stock is reduced for any
period during which the shareholder’s risk of loss with respect to the stock is diminished by reason of the existence of
certain options, contracts to sell, short sales, or similar transactions. In addition, to the extent that a corporation incurs
indebtedness that is directly attributable to an investment in the stock on which the dividend is paid, all or a portion
of the dividends received deduction may be disallowed.

                       8.   Sale, Redemption, or Repurchase of New Shopko Interests

          Unless a non-recognition provision applies, U.S. Holders generally will recognize capital gain or loss upon
the sale, redemption, or other taxable disposition of New Shopko Interests. Such capital gain will be long-term capital
gain if at the time of the sale, exchange, retirement, or other taxable disposition, the U.S. Holder held the New Shopko
Interests for more than one year. Long-term capital gains of an individual taxpayer generally are taxed at preferential
rates. The deductibility of capital losses is subject to certain limitations as described below. Under the recapture rules
of section 108(e)(7) of the Tax Code, a U.S. Holder may be required to treat gain recognized on the taxable disposition
of the New Shopko Interests as ordinary income if such U.S. Holder took a bad debt deduction with respect to its
Allowed Claim or recognized an ordinary loss on the exchange of its Allowed Claim for New Shopko Interests.

                       9.   Limitation on Use of Capital Losses

         A U.S. Holder of a Claim who recognizes capital losses as a result of the distributions under the Plan will be
subject to limits on the use of such capital losses. For a non-corporate U.S. Holder, capital losses may be used to
offset any capital gains (without regard to holding periods), and also ordinary income to the extent of the lesser of (a)


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$3,000 ($1,500 for married individuals filing separate returns) or (b) the excess of the capital losses over the capital
gains. A non-corporate U.S. Holder may carry over unused capital losses and apply them against future capital gains
and a portion of their ordinary income for an unlimited number of years. For corporate U.S. Holders, capital losses
may only be used to offset capital gains. U.S. Holders who have more capital losses than can be used in a tax year
may be allowed to carry over the excess capital losses for use in succeeding tax years. A corporate U.S. Holder that
has more capital losses than may be used in a tax year may carry back unused capital losses to the three years preceding
the capital loss year or may carry over unused capital losses for the five years following the capital loss year.

             D.       Certain U.S. Federal Income Tax Consequences to Certain Non-U.S. Holders of Claims

         The following discussion assumes that the Debtors will undertake the Restructuring Transactions currently
contemplated by the Plan and includes only certain U.S. federal income tax consequences of the Restructuring
Transactions to non-U.S. Holders. The discussion does not include any non-U.S. tax considerations. The rules
governing the U.S. federal income tax consequences to non-U.S. Holders are complex. Each non-U.S. Holder should
consult its own tax advisor regarding the U.S. federal, state, and local and the non-U.S. tax consequences of the
consummation of the Plan to such non-U.S. Holders and the ownership and disposition of the New Shopko Interests.

                          1.   Gain Recognition

          Any gain realized by a non-U.S. Holder on the exchange of its Claim generally will not be subject to U.S.
federal income taxation unless (a) the non-U.S. Holder is an individual who was present in the United States for 183
days or more during the taxable year in which the Restructuring Transactions occur and certain other conditions are
met or (b) such gain is effectively connected with the conduct by such non-U.S. Holder of a trade or business in the
United States (and if an income tax treaty applies, such gain is attributable to a permanent establishment maintained
by such non-U.S. Holder in the United States).

          If the first exception applies, to the extent that any gain is taxable, the non-U.S. Holder generally will be
subject to U.S. federal income tax at a rate of 30% (or at a reduced rate or exemption from tax under an applicable
income tax treaty) on the amount by which such non-U.S. Holder’s capital gains allocable to U.S. sources exceed
capital losses allocable to U.S. sources during the taxable year of the exchange. If the second exception applies, the
non-U.S. Holder generally will be subject to U.S. federal income tax with respect to any gain realized on the exchange
in the same manner as a U.S. Holder (except that the Medicare tax would generally not apply). To claim an exemption
from withholding tax, such non-U.S. Holder will be required to provide a properly executed IRS Form W-8ECI (or
such successor form as the IRS designates). In addition, if such a non-U.S. Holder is a corporation, it may be subject
to a branch profits tax equal to 30% (or such lower rate provided by an applicable treaty) of its effectively connected
earnings and profits for the taxable year, subject to certain adjustments.

                          2.   Accrued Interest

         Payments to a non-U.S. Holder that are attributable to accrued interest generally will not be subject to U.S.
federal income tax or withholding, provided that the withholding agent has received or receives, prior to payment,
appropriate documentation (generally, IRS Form W-8BEN or W-8BEN-E) establishing that the non-U.S. Holder is
not a U.S. person, unless:

         •        the non-U.S. Holder actually or constructively owns 10% or more of the total combined voting power of
                  all classes of the Reorganized Debtor’s stock entitled to vote;

         •        the non-U.S. Holder is a “controlled foreign corporation” that is a “related person” with respect to the
                  Reorganized Debtor (each, within the meaning of the Tax Code);

         •        the non-U.S. Holder is a bank receiving interest described in section 881(c)(3)(A) of the Tax Code; or

         •        such interest is effectively connected with the conduct by the non-U.S. Holder of a trade or business
                  within the United States (in which case, provided the non-U.S. Holder provides a properly executed IRS
                  Form W-8ECI (or successor form) to the withholding agent, the non-U.S. Holder (x) generally will not
                  be subject to withholding tax, but (y) will be subject to U.S. federal income tax in the same manner as a

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                 U.S. Holder (unless an applicable income tax treaty provides otherwise), and a non-U.S. Holder that is
                 a corporation for U.S. federal income tax purposes may also be subject to a branch profits tax with
                 respect to such non-U.S. Holder’s effectively connected earnings and profits that are attributable to the
                 accrued interest at a rate of 30% (or at a reduced rate or exemption from tax under an applicable income
                 tax treaty)).

         A non-U.S. Holder that does not qualify for the exemption from withholding tax with respect to accrued but
untaxed interest that is not effectively connected income generally will be subject to withholding of U.S. federal
income tax at a 30% rate (or at a reduced rate or exemption from tax under an applicable income tax treaty) on any
payments that are attributable to accrued but untaxed interest. For purposes of providing a properly executed IRS
Form W-8BEN or W-8BEN-E, special procedures are provided under applicable Treasury Regulations for payments
through qualified foreign intermediaries or certain financial institutions that hold customers’ securities in the ordinary
course of their trade or business. As described above in more detail under the heading “Accrued Interest,” the
aggregate consideration to be distributed to holders of Allowed Claims in each Class will be allocated first to the
principal amount of such Allowed Claims, with any excess allocated to unpaid interest that accrued on these Claims,
if any.

                     3.   Dividends on New Shopko Interests

          Any distributions made with respect to New Shopko Interests will constitute dividends for U.S. federal
income tax purposes to the extent of the Reorganized Debtor’s current or accumulated earnings and profits as
determined under U.S. federal income tax principles. Except as described below, dividends paid with respect to New
Shopko Interests held by a non-U.S. Holder that are not effectively connected with a non-U.S. Holder’s conduct of a
U.S. trade or business (or if an income tax treaty applies, are not attributable to a permanent establishment maintained
by such non-U.S. Holder in the United States) will be subject to U.S. federal withholding tax at a rate of 30% (or lower
treaty rate or exemption from tax, if applicable). A non-U.S. Holder generally will be required to satisfy certain IRS
certification requirements in order to claim a reduction of or exemption from withholding under a tax treaty by filing
IRS Form W-8BEN or W-8BEN-E (or a successor form) upon which the non-U.S. Holder certifies, under penalties
of perjury, its status as a non-U.S. person and its entitlement to the lower treaty rate or exemption from tax with respect
to such payments. Dividends paid with respect to New Shopko Interests held by a non-U.S. Holder that are effectively
connected with a non-U.S. Holder’s conduct of a U.S. trade or business (and if an income tax treaty applies, are
attributable to a permanent establishment maintained by such non-U.S. Holder in the United States) generally will be
subject to U.S. federal income tax in the same manner as a U.S. Holder, and a non-U.S. Holder that is a corporation
for U.S. federal income tax purposes may also be subject to a branch profits tax with respect to such non-U.S. Holder’s
effectively connected earnings and profits that are attributable to the dividends at a rate of 30% (or at a reduced rate
or exemption from tax under an applicable income tax treaty).

                     4.   Sale, Redemption, or Repurchase of New Shopko Interests

         A non-U.S. Holder generally will not be subject to U.S. federal income tax with respect to any gain realized
on the sale or other taxable disposition (including a Cash redemption) of New Shopko Interests unless:

         (i)         such non-U.S. Holder is an individual who is present in the United States for 183 days or more in
                     the taxable year of disposition or who is subject to special rules applicable to former citizens and
                     residents of the United States; or

         (ii)        such gain is effectively connected with such non-U.S. Holder’s conduct of a U.S. trade or business
                     (and if an income tax treaty applies, such gain is attributable to a permanent establishment
                     maintained by such non-U.S. Holder in the United States); or

         (iii)       the Reorganized Debtors are or have been during a specified testing period a “U.S. real property
                     holding corporation” for U.S. federal income tax purposes.

         If the first exception applies, the non-U.S. Holder generally will be subject to U.S. federal income tax at a
rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty) on the amount
by which such non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital losses allocable to U.S. sources

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during the taxable year of disposition of New Shopko Interests. If the second exception applies, the non-U.S. Holder
generally will be subject to U.S. federal income tax with respect to such gain in the same manner as a U.S. Holder,
and a non-U.S. Holder that is a corporation for U.S. federal income tax purposes may also be subject to a branch
profits tax with respect to earnings and profits effectively connected with a U.S. trade or business that are attributable
to such gains at a rate of 30 percent (or at a reduced rate or exemption from tax under an applicable income tax treaty).
The Debtors consider it unlikely, based on their current business plans and operations, that any of the Reorganized
Debtors will become a “U.S. real property holding corporation” in the future.

                  5.   FATCA

          Under the Foreign Account Tax Compliance Act (“FATCA”), foreign financial institutions and certain other
foreign entities must report certain information with respect to their U.S. account holders and investors or be subject
to withholding at a rate of 30% on the receipt of “withholdable payments.” For this purpose, “withholdable payments”
are generally U.S. source payments of fixed or determinable, annual or periodical income (including dividends, if any,
on New Shopko Interests), and also include gross proceeds from the sale of any property of a type which can produce
U.S. source interest or dividends (which would include New Shopko Interests). FATCA withholding will apply even
if the applicable payment would not otherwise be subject to U.S. federal nonresident withholding.

          FATCA withholding rules currently apply to U.S.-source payments of fixed or determinable, annual or
periodic income. The Internal Revenue Service has issued proposed regulations that, when finalized, will provide for
the repeal of the 30% withholding tax that existing regulations released in January 2013 and subsequent guidance by
the Service would have applied to all payments of gross proceeds from the sale, exchange or other disposition of
property of a type which can produce U.S. source interest or dividends occurring after December 31, 2018. In the
preamble to the proposed regulations, the Service provided that taxpayers may rely upon this repeal until the issuance
of final regulations.

        Each non-U.S. Holder should consult its own tax advisor regarding the possible impact of these rules on such
non-U.S. Holder’s ownership of New Shopko Interests.

         E.       Information Reporting and Back-Up Withholding

         The Debtors will withhold all amounts required by law to be withheld from payments of interest and
dividends. The Debtors will comply with all applicable reporting requirements of the IRC. In general, information
reporting requirements may apply to distributions or payments made to a Holder of a Claim under the Plan.
Additionally, under the backup withholding rules, a Holder of a Claim may be subject to backup withholding with
respect to distributions or payments made pursuant to the Plan unless, in the case of a U.S. Holder, such U.S. Holder
provides a properly executed IRS Form W-9 and, in the case of Non-U.S. Holder, such Non-U.S. Holder provides a
properly executed applicable IRS Form W-8 (or otherwise establishes such Non-U.S. Holder’s eligibility for an
exemption). The current backup withholding rate is 24 percent. Backup withholding is not an additional tax but is,
instead, an advance payment that may entitle the Holder to a refund from the IRS to the extent it results in an
overpayment of tax, provided that the required information is timely provided to the IRS.

         In addition, from an information reporting perspective, the Treasury Regulations generally require disclosure
by a taxpayer on its U.S. federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s claiming a loss in excess
of specified thresholds. Holders are urged to consult their tax advisors regarding these regulations and whether the
transactions contemplated by the Plan would be subject to these regulations and require disclosure on the Holders’ tax
returns.

      THE UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX. THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF UNITED STATES
FEDERAL INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN LIGHT
OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF
CLAIMS AND INTERESTS SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE
PARTICULAR TAX CONSEQUENCES TO THEM OF THE TRANSACTIONS CONTEMPLATED BY


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THE PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF ANY STATE, LOCAL, OR FOREIGN
TAX LAWS, AND OF ANY CHANGE IN APPLICABLE TAX LAWS.




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XVI.     RECOMMENDATION

          In the opinion of the Debtors, the Plan is preferable to all other available alternatives and provides for a larger
distribution to the Debtors’ creditors than would otherwise result in any other scenario. Accordingly, the Debtors
recommend that Holders of Claims entitled to vote on the Plan vote to accept the Plan and support Confirmation of
the Plan.

Dated: January 16, 2019

                                                              Respectfully submitted,

                                                              Specialty Retail Shops Holding Corp.,
                                                              on behalf of itself and each of the other Debtors

                                                               By: /s/ Russell L. Steinhorst
                                                              Name: Russell L. Steinhorst
                                                              Title: Chief Executive Officer
Prepared by:

Dated: January 16, 2019                    /s/ Michael T. Eversden
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                                      Exhibit A

                                Plan of Reorganization




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                                      Exhibit B

                              Corporate Structure Chart
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                                      Exhibit C

                              Disclosure Statement Order
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                                     Exhibit D

                                Financial Projections
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                                     Exhibit E

                                 Valuation Analysis
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                                      Exhibit F

                                 Liquidation Analysis
